Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 1 of 135
                                                                                  1


     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                              MIAMI DIVISION
                           CASE NO. 08-20574-CRIMINAL-LENARD
     3

     4   UNITED STATES OF AMERICA,                Miami, Florida

     5                     Plaintiff,             October 5, 2010

     6               vs.                          10:00 a.m. to 1:37 p.m.

     7   RALPH MERRILL,

     8                  Defendant.          Pages 1 to 135
         ______________________________________________________________
     9

   10
                        CLOSING ARGUMENTS FROM THE JURY TRIAL
   11                    BEFORE THE HONORABLE JOAN A. LENARD,
                             UNITED STATES DISTRICT JUDGE
   12

   13
         APPEARANCES:
   14

   15    FOR THE GOVERNMENT:            ELOISA FERNANDEZ, ESQ.,
                                        ADAM SCHWARTZ, ESQ., and
   16                                   FRANK TAMEN, ESQ.
                                        ASSISTANT UNITED STATES ATTORNEYS
   17                                   99 Northeast Fourth Street
                                        Miami, Florida 33132
   18

   19    FOR THE DEFENDANT:             PETER STIRBA, ESQ., and
                                        NATHAN A. CRANE, ESQ.
   20                                   STIRBA & ASSOCIATES
                                        215 South State Street, Suite 750
   21                                   Salt Lake City, Utah 84111

   22
         REPORTED BY:                   LISA EDWARDS, CRR, RMR
   23                                   Official Court Reporter
                                        400 North Miami Avenue
   24                                   Twelfth Floor
                                        Miami, Florida 33128
   25                                   (305) 523-5499
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 2 of 135
                                                                                  2


     1                             I N D E X

     2
                                                                  PAGE
     3

     4
         Closing Argument by Mr. Schwartz                             3
     5
         Closing Argument by Mr. Stirba                              48
     6
         Rebuttal Argument by Mr. Tamen                             106
     7

     8

     9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 3 of 135
                           Closing Argument by Mr. Schwartz                       3


     1               THE COURT:    You may be seated.

     2               You may proceed.

     3               Good morning, ladies and gentlemen.

     4               THE JURY:    Good morning.

     5               MR. SCHWARTZ:    If we could use the Government's

     6   computer, your Honor.

     7               THE COURT:    Okay.    It's all set.

     8               MR. SCHWARTZ:    May it please the Court, defense

     9   counsel.

   10                Ladies and gentlemen of the jury, this is a case about

   11    greed, the greed of the Defendant and the greed of his

   12    co-conspirators, Efraim Diveroli, David Packouz and Alexander

   13    Podrizki.

   14                And with greed as their motivating factor, ladies and

   15    gentlemen, they decided to withhold from the US Army the fact

   16    that the ammunition they were providing to forces in

   17    Afghanistan was manufactured in Communist China.

   18                Now, when they first learned that the ammunition they

   19    were purchasing in Albania was, in fact, made in Communist

   20    China, they had a choice.         They could have found a different

   21    supplier.    But that would take time, two to three months.          And

   22    they were already late delivering on this contract by months.

   23                And they didn't want to risk, ladies and gentlemen,

   24    losing a contract altogether, a contract valued at

   25    $298 million, a contract that could reap a net profit of
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 4 of 135
                           Closing Argument by Mr. Schwartz                       4


     1   $30 million for the Defendant and his co-conspirators.

     2              So what did they decide to do?        Well, you heard that

     3   the Defendant came up with the idea of, "Well, let's scrape off

     4   the Chinese markings from these crates and ship it anyway."

     5              They learned, however, that they couldn't do that

     6   because not only did the crates have Chinese markings, but the

     7   tins inside the crates as well as all the papers inside the

     8   crates.    And each round was actually wrapped with brown paper

     9   with Chinese markings.

   10               So they had to devise a different plan.         And that

   11    plan, ladies and gentlemen, was to repackage everything from

   12    nuts to bolts, removing -- opening the crates, removing the

   13    tins from the crates, opening the tins, removing all the slips

   14    of paper with Chinese markings, unwrapping each round of

   15    ammunition, rewrapping it, putting them into cardboard boxes

   16    and shipping it off to Afghanistan.

   17               But there was a problem with that because it cost

   18    money.    So the Defendant came up with another idea.         He decided

   19    to go to Henri Thomet, the supplier of the ammunition, and to

   20    leverage, to ask for a lower price, because the Defendant and

   21    his co-conspirators were assuming all the risk by supplying

   22    ammunition that they knew was prohibited and it was eating into

   23    their profit margins.

   24               That's exactly what happened.        The price was lowered

   25    because this ammunition was made in China.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 5 of 135
                           Closing Argument by Mr. Schwartz                       5


     1              Now, the Defendant knew exactly what he was doing.            If

     2   you remember, in May of 2008, he told investigators -- we heard

     3   this from Special Agent Perez -- that he was playing a game of

     4   high-stakes poker with the Government.

     5              The problem, ladies and gentlemen, of high-stakes

     6   poker is that sometimes when you gamble you lose.           And that's

     7   what happened to the Defendant.

     8              Now, ladies and gentlemen, back in jury selection a

     9   couple weeks ago, the Judge informed you that the Defendant is

   10    charged with three crimes.       The first is conspiracy.

   11               The second is major fraud against the United States,

   12    which involves a scheme to defraud the US, in this case,

   13    concealing the fact that this ammunition they were shipping was

   14    manufactured in China.      And that relates to a contract between

   15    the Government and AEY valued at a million dollars or more.

   16    That's that second charge.

   17               The third charge is wire fraud, which charges the

   18    Defendant with being involved in and executing a scheme to

   19    defraud the United States, again, by concealing the Chinese

   20    origin of this ammunition, and then some effect on the wires

   21    took place.     And by "wires," we're talking about e-mail

   22    communications and money transfers.

   23               So, ladies and gentlemen, I just want to walk you

   24    through how the Government has proved its case beyond a

   25    reasonable doubt.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 6 of 135
                           Closing Argument by Mr. Schwartz                       6


     1              If we could go to the next slide.

     2              Now, let's start talking about the Defendant.

     3              Now, the Defendant, as we heard, worked -- owned a

     4   company called Vector Arms.       This company, ladies and

     5   gentlemen, was not, as we may have heard earlier, a seller of

     6   antique firearms.      No.   The Defendant manufactures assault

     7   rifles and machine guns.       We see in EM 4 there are Uzis,

     8   AK-47s, assault rifles.

     9              We also know that the Defendant is not new to the

   10    international arms trade.       He has 12 years of experience in it

   11    and he has his own sources from Israel to Switzerland,

   12    including Henri Thomet, who ran the company Evdin that we heard

   13    a lot about over the course of the last few weeks.

   14               And we know that the Defendant worked with AEY and

   15    Efraim Diveroli on previous large-scale Government contracts.

   16    So he knew exactly what he was doing.

   17               In fact, he was so involved with AEY that at some

   18    times he actually held himself out as the vice president of

   19    AEY.   Now, he told you on the stand that that wasn't true, he

   20    was really never a vice president of AEY.

   21               It was more of a righteous ruse.        He doesn't like the

   22    word "lie."     There's other words that we've learned that he

   23    doesn't like, for instance, "Chinese ammunition."           But we'll

   24    talk about that more in a few minutes.

   25               So if we can go to the next slide, please.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 7 of 135
                           Closing Argument by Mr. Schwartz                       7


     1               So back in August of 2006, based on the Defendant's

     2   longstanding experience with AEY, he got involved with AEY in

     3   issuing a bid for the contract to supply millions of dollars'

     4   worth of ammunition to the Afghanistan forces.          This was a

     5   contract worth millions of dollars over the course of two

     6   years.

     7               We heard from David Packouz and we saw in the e-mails

     8   that the Defendant was intimately involved with all aspects of

     9   this contract, starting with putting together the bid so that

   10    AEY could win this contract.

   11                If we could go to the next slide, please.

   12                As we saw in E-mail Exhibit 14, the Defendant wrote

   13    the past performance portion of AEY's submission to the US

   14    Army.    And we learned, ladies and gentlemen, that the Defendant

   15    really would do anything to make sure that AEY and himself

   16    would get this contract so they could make this $30 million in

   17    profit.    He had no qualms lying to the US Army in doing so.

   18                If we can go to the second page, the attachment, of

   19    EM 14, please.

   20                You heard from David Packouz and you saw in the

   21    document itself that it's riddled with lies.          First of all, AEY

   22    doesn't have 20 years of experience in arms -- in the arms

   23    business.

   24                In fact, Efraim Diveroli, the president, was 24 years

   25    old.     So he was 4 years old at the time this was written.         I
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 8 of 135
                           Closing Argument by Mr. Schwartz                       8


     1   don't think he was doing arms deals back then.

     2              Also, we know, ladies and gentlemen, that they don't

     3   have affiliates in Switzerland and Israel and they had no

     4   retired military officers as part of the AEY team.

     5              And we learned that AEY had no European offices, had

     6   no inspection or -- for sourcing of the ammunition and that

     7   they never used laboratory testing for ammunition that was

     8   older than six years.

     9              Those were all lies, ladies and gentlemen, lies

   10    written by the Defendant.       The Defendant told you that, "Well,

   11    Efraim Diveroli told me to do it."        What does that tell you?

   12    It tells you that the Defendant will go along with lies if it's

   13    going to help him out.

   14               But, see, the lies didn't stop there.

   15               If we can go to the next slide, please.

   16               You'll remember in EM 17 who the -- you heard from

   17    David Packouz that the Defendant and Efraim Diveroli thought of

   18    another idea to make AEY look better for this contract so they

   19    would win it.

   20               They lied to the US Government about a deal between

   21    the Defendant's own company, Vector Arms, and AEY where AEY

   22    supplied 29 million rounds of 7.62 ammunition to Vector Arms.

   23               Now, the one thing we do know from David Packouz and

   24    from the Defendant's own testimony is this deal never happened.

   25    It never went through.      But the Defendant felt the need and
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 9 of 135
                           Closing Argument by Mr. Schwartz                       9


     1   didn't see any problem with sending that e-mail to the US Army,

     2   which said that they actually sent this ammunition.

     3              In fact, we heard from the Defendant that the deal

     4   didn't go through because, well, AEY got prohibited ammunition.

     5   Sounds familiar, doesn't it?

     6              If we can go to the next slide, please.

     7              Because the lies didn't stop there.         Because that was

     8   in October.     Now we're in January.     Right before the contract

     9   was awarded, the Defendant provided a letter to explain to the

   10    Government the financial relationship between AEY and himself.

   11               If we can go to that letter.

   12               And in that letter, the Defendant lied again.          He

   13    explained that he was just an outside loaner.          He was going to

   14    provide a million dollars and perhaps some land and that that

   15    million dollars -- he would get a 2 percent recuperation of

   16    interest on whatever unpaid monthly balance there was.            An

   17    arm's-length loan.

   18               But we know that that is not the deal that AEY and the

   19    Defendant had.     No.   You heard from the Defendant's own words

   20    and from David Packouz that he was going to split 50/50 the

   21    anticipated $30 million in profit.

   22               So what happened?      Well, after the Army heard all of

   23    these lies, they decided to go ahead and award the contract to

   24    AEY.

   25               If we can go to the next slide, please.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 10 of 135
                           Closing Argument by Mr. Schwartz                      10


     1               On January 26th of 2007, the Army awarded the contract

     2    and the first task order for ammunition was issued.           And almost

     3    immediately, the Defendant went to his sources to try to get

     4    the best price for this ammunition.

     5               And you heard from David Packouz that he actually --

     6    the Defendant asked David Packouz, "What are you sending to

     7    your sources about the requirements of this contract so I can

     8    send those to my sources as well?"

     9               If we can go to the next slide, please, and EM 37.

    10               Well, you heard from David Packouz.        That's what he

    11    did.   In this e-mail, he made it abundantly clear that

    12    ammunition that was manufactured in Chinese military factories

    13    is not acceptable.     The Defendant knew back in January of 2007

    14    that this ammunition manufactured in China was not acceptable.

    15               You also heard from David Packouz, ladies and

    16    gentlemen, that it was common knowledge in the industry that

    17    ammunition made in China was not acceptable for these kinds of

    18    contracts.

    19               And that was a business, an industry, that David

    20    Packouz was new to, as you heard.        This was really his first

    21    working in international arms dealing.         But the Defendant had

    22    12 years of experience.      The Defendant knew exactly that this

    23    ammunition was prohibited early on.

    24               So what did the Defendant do?       Well, as you can see --

    25    if we can go to the next slide, please -- the Defendant went to
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 11 of 135
                           Closing Argument by Mr. Schwartz                      11


     1    his sources, especially Henri Thomet, who ran the company

     2    Evdin.   And you heard, ladies and gentlemen, that the Defendant

     3    had a special interest to make sure that Henri Thomet got

     4    awarded this contract.      Henri Thomet owed the Defendant half a

     5    million dollars.

     6               So the only way that the Defendant was going to get

     7    back that half million dollars on a deal gone bad was if Henri

     8    Thomet was a source and a supplier under this contract.

     9               And as you can see here in EM 49, Efraim Diveroli

    10    sends an e-mail saying that, you know, "Maybe we shouldn't use

    11    Evdin, Ralph Merrill's" -- sorry -- "Henri Thomet's company

    12    because it doesn't actually work out, maybe, better."

    13               If we can go to the next slide, please.

    14               That didn't stop the Defendant.       He kept explaining

    15    that, even when a cheaper offer came about -- this was from

    16    Petr -- because Henri provided some financing -- that "We

    17    should still go with Henri Thomet" because he wanted to make

    18    sure he could get that half million dollars back.

    19               So let's go to the next slide, please.

    20               And you saw that, in as early as March, 2007, not much

    21    later on, as you heard when the Defendant took the stand, he

    22    was reviewing a contract between AEY and Evdin, Henri Thomet's

    23    company, to supply ammunition from Albania under this contract.

    24               And even, as you can see in this e-mail, the Defendant

    25    had a motive.    He didn't want Henri Thomet to walk away if
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 12 of 135
                           Closing Argument by Mr. Schwartz                      12


     1    Efraim Diveroli put in this contract too many restrictive

     2    clauses.    He's like, "No.     No.   He's a trusted friend.     We

     3    don't want to insult him."

     4                The Defendant didn't want Henri Thomet to walk away

     5    because, if he walked away, he'd walk away with half a million

     6    dollars of the Defendant's money.

     7                So what happened?    You heard, ladies and gentlemen --

     8    if we could go to the next slide, please -- that, on April 20th

     9    of 2007, Alexander Podrizki, AEY's man who just arrived in

    10    Albania, saw that there was Chinese markings of the ammunition.

    11    And, ladies and gentlemen, that's where the conspiracy began.

    12                And the Judge is going to read to you detailed

    13    instructions about the law of conspiracy.         I just want to spend

    14    a few minutes and go through a -- and highlight a few of these

    15    instructions to you so that you can keep them in mind as we go

    16    through the evidence.

    17                First of all, what is a conspiracy?       A conspiracy is

    18    an agreement by two or more people to commit an unlawful act.

    19    In other words, it's a kind of partnership for criminal

    20    purposes.    Every member of the conspiracy becomes a part --

    21                THE COURT:   A little bit slower, Mr. Schwartz.

    22                MR. SCHWARTZ:   Sorry.

    23                And every member of the conspiracy becomes the agent

    24    or partner of every other member.

    25                The Judge will instruct you that the heart of the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 13 of 135
                           Closing Argument by Mr. Schwartz                      13


     1    conspiracy is the making of the unlawful plan itself.           It's the

     2    planning itself, ladies and gentlemen, followed by the

     3    commission of an overt act.

     4               And an overt act is an action which maybe by itself

     5    seems completely innocent; but when you look at it with the

     6    planning stages, it forwards or advances the cause of the plan

     7    of the conspiracy.

     8               And we'll go through those overt acts.         You're very

     9    familiar with them already, as you'll see.

    10               And the Government doesn't have to prove that they

    11    actually carried out the plan.       So the crime is the plan

    12    itself.

    13               The Government also doesn't have to prove that all the

    14    people named in the indictment were members of this plan or

    15    that the members made any kind of formal agreement.

    16               Ladies and gentlemen, that makes sense.         You'll never

    17    see a contract that says, "We all hereby agree to defraud the

    18    United States by concealing the origin of the ammunition."

    19    That's just not going to happen.

    20               So how do you tell that the Defendant joined the plan?

    21    You see by his actions, through his e-mails, through what he

    22    did, by paying for the ammunition, by coming up with ideas of

    23    how to conceal the origin of the ammunition.         That shows you

    24    and demonstrates how he joined the conspiracy.

    25               If we could go to the next slide, please.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 14 of 135
                           Closing Argument by Mr. Schwartz                      14


     1               It's also important to realize that a person may be a

     2    conspirator without knowing all of the details of the unlawful

     3    plan or the names and identities of all the other alleged

     4    conspirators.

     5               So the Defendant doesn't need to know what every other

     6    member is doing all the time.

     7               Now, let's -- so what was the Defendant, Efraim

     8    Diveroli, David Packouz and Alexander Podrizki, planning to

     9    conspire to commit?     What were the objects, the goals, of the

    10    conspiracy?

    11               Well, they're charged with three different objects.

    12               The first is making false statements to a federal

    13    agency.   And that federal agency is the US Army.

    14               And the false statements we're talking about here are

    15    those certificates of conformance, those self-certification

    16    documents which stated that the ammunition complied with the

    17    contract and that it was manufactured in Albania.          Those are

    18    Government Exhibits 4 through 38.

    19               And you saw that all of those exhibits listed Albania

    20    as the place of manufacture.       They were all lies.

    21               The second object is major fraud against the United

    22    States.   We'll talk about that in a little bit more detail in a

    23    few minutes.

    24               But major fraud against the United States charges the

    25    Defendant with being involved in a scheme to defraud the United
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 15 of 135
                           Closing Argument by Mr. Schwartz                      15


     1    States, in this case, concealing the Chinese origin of the

     2    ammunition, and that that concealment, that scheme to defraud,

     3    related to a contract with the United States Government.

     4               In this case, it's the AEY/US Army Sustainment Command

     5    contract, Government Exhibit 1, that we've all seen that was

     6    valued at $298 million.

     7               And last is wire fraud.      Again, the Defendant was

     8    involved with this scheme to defraud the United States by

     9    concealing the origin of the Chinese ammunition and, in part of

    10    that scheme and execution of that scheme, wires were used.

    11               And what do I mean by "wires"?       E-mail communication

    12    and bank payments.     We'll talk about that in a few minutes.

    13               So how did the Defendant join the conspiracy?          How do

    14    we prove that?

    15               Let's go to the next slide, please.

    16               Well, actually, before we get to that, I want to talk

    17    to you about one other legal concept.

    18               Now, in Counts 37 to 71 are the charges for major

    19    fraud against the United States, which the Defendant's charged

    20    with, as well as wire fraud, which is Counts 72 and 74 through

    21    85.

    22               There's another legal idea I want you to keep in mind

    23    as we go though the evidence, and that's the fact that the

    24    Defendant in those crimes is charged not only as a principal,

    25    as actually the person executing all facets of the crime, but,
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 16 of 135
                           Closing Argument by Mr. Schwartz                      16


     1    also, as an aider and an abettor.        Well, what does that mean?

     2               The Judge is going to instruct you that the guilt of

     3    the Defendant in a criminal case may be established even though

     4    he did not personally do every act involved in the commission

     5    of a crime.    The law recognize that a person can act together

     6    with others in a joint effort to commit an offense.

     7               So what does that mean, ladies and gentlemen?           It

     8    means that, in crimes, everyone has a job.         Someone's the idea

     9    man.   The other person is the person who signs the COCs, the

    10    certificates of conformance.       The other person is in Albania,

    11    overseeing the repackaging operation.

    12               Each person plays a role in the offense.         They

    13    don't -- and they're all equally as guilty.         You don't have to

    14    complete every single facet of the scheme to defraud to be

    15    found guilty of the offense.

    16               Specifically, if you direct or induce someone to --

    17    else to commit a crime, you're equally as guilty.          So the

    18    Defendant's advising on ways to conceal the origin of the

    19    ammunition and telling AEY and its employees how to do it.

    20    Well, that's aiding and abetting.

    21               Also, helping another person to commit a crime by

    22    doing some act to assist him or her in the offense.           It could

    23    be as easy as writing an e-mail, renegotiation of a contract

    24    for a lower price and paying for ammunition so that it could be

    25    provided to the Government, even though everybody knew it was
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 17 of 135
                           Closing Argument by Mr. Schwartz                      17


     1    Chinese and that was concealed from the Government.

     2               So keep that in mind as we go through the facts of

     3    this case.

     4               Now, let's -- how do we know -- if we could go to the

     5    next slide, please -- that the Defendant joined this

     6    conspiracy?

     7               Well, first of all, you saw in EM 114 and EM 115,

     8    which are overt acts in the indictment, Paragraphs 5 and 6,

     9    that Alexander Podrizki sent pictures showing that this

    10    ammunition that they were purchasing in Albania had Chinese

    11    markings on it.

    12               Next slide, please.

    13               On that same day -- next slide -- in E-mail

    14    Exhibit 118, we saw that the Defendant was sent and forwarded

    15    these pictures the exact same day, April 20th of 2007.

    16               And we heard from David Packouz -- and he testified --

    17    that that night -- not three days later, that night -- the

    18    Defendant, Efraim Diveroli and David Packouz, over a

    19    speakerphone talked about this and they all admitted that this

    20    was going to be a big problem because this Chinese ammunition

    21    most likely is not going to be allowed.

    22               They already started talking about ways and ideas that

    23    they might be able to conceal this ammunition and provide it

    24    anyway.

    25               So what else was going on on April 20th?
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 18 of 135
                           Closing Argument by Mr. Schwartz                      18


     1               If we could go to the next slide, please.

     2               In E-mail Exhibit 119, we saw that David Packouz asked

     3    Alex Podrizki to do a little bit more reconnaissance to find

     4    out the extent of the Chinese markings on this ammunition.

     5               He also told Alexander Podrizki to tell Pinari, the

     6    Albanian contact from MEICO, that -- "Tell him it's required to

     7    get rid of the Chinese lettering to get the cargo accepted,

     8    since Chinese products are prohibited.         Is there any Chinese

     9    letters on the metal containers?"

    10               They knew -- the Defendant knew, the co-conspirators

    11    all knew -- that Chinese ammunition was prohibited.

    12               The next slide, please.

    13               This is EM 122, which is Overt Act Paragraph 8.

    14    Alexander Podrizki is showing an e-mail that he provided to

    15    Pinari in -- following David Packouz's orders.

    16               He explains that, "We are currently awaiting a

    17    discreet response from our correspondent in Washington, DC, to

    18    see if the Army will accept Chinese-manufactured materials.            As

    19    I'm sure you know, the US has had an embargo on China since

    20    1989.   If the response is negative, we will need to have the

    21    metal cases painted over."

    22               We heard, ladies and gentlemen, and we saw through the

    23    e-mails that they did go and ask the United States.           They went

    24    to the State Department and sent e-mails asking, "Can we do

    25    this transaction?"
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 19 of 135
                           Closing Argument by Mr. Schwartz                      19


     1               Let's go to the next slide, please.

     2               This is EM 129, which is the overt act listed in

     3    Paragraph 10.    On Monday, April 23rd, Efraim Diveroli received

     4    a response from the Department of State.         The response was an

     5    astounding, "No.     You can't do this deal.      Only with a

     6    presidential determination."

     7               And as you see, within two minutes of Efraim Diveroli

     8    receiving this e-mail, he forwards it on to his co-conspirator,

     9    his go-to guy, the Defendant.

    10               Now, they didn't like taking "no" for an answer.          And

    11    you heard from David Packouz that it was the Defendant who came

    12    up with an idea, "Well, ask the State Department this.           The ATF

    13    has a certain kind of exception to a prohibition that, if a

    14    firearm is in a neutral country for a number of years, maybe

    15    it's okay.    Ask them that."

    16               Go to the next slide, please.

    17               That's exactly what Efraim Diveroli did.         He followed

    18    the Defendant's advice and suggestions.         And that answer was,

    19    as you can see in Government's Exhibit EM 135, "There is no

    20    such provision in the law."       That's the middle box we

    21    highlighted.

    22               But the Defendant and his co-conspirators didn't like

    23    taking "no" for an answer.       So they asked, "Is there any way we

    24    can do this transaction?"

    25               The response again, which was forwarded to the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 20 of 135
                           Closing Argument by Mr. Schwartz                      20


     1    Defendant, was clear as day, "No.        It wouldn't even fit the

     2    national security interest."       The State Department said that.

     3    The answer was a resounding, "No."

     4               So what were they going to do at this point?         They had

     5    a problem because they didn't want to change horses in

     6    midstream.    Why not?    Well, first of all, they're running late

     7    on the contract.

     8               If we could go to the next slide, please.

     9               As you can see in Government Exhibits 1-E and 1-H, the

    10    first task orders under this contract were issued.          And the

    11    first task order, ladies and gentlemen, was due on March 31st

    12    of '07 and no shipments have gone out by then.          They were

    13    already nearly a month late.

    14               And Task Order 2, which asked for a lot of ammunition,

    15    a much bigger task order, as you can see, the first 18 million

    16    rounds were due within five days.

    17               And you heard from David Packouz that to switch

    18    suppliers would mean two to three months' delay because they

    19    would have to find new shipments, a new transportation source.

    20    They would have to get those end user certificates redone.

    21               It was going to take time and time is what they didn't

    22    want to risk because they didn't want to risk losing a contract

    23    valued at $298 million.

    24               The Defendant had another reason why he didn't want to

    25    find another source of supply and risk losing the contract.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 21 of 135
                           Closing Argument by Mr. Schwartz                      21


     1    You saw that, by May 1st, he was already invested $1.1 million

     2    into this contract.     He could not risk losing his entire

     3    investment.

     4               But he had another reason to stick with Henri Thomet

     5    and Evdin:    The half million dollars that was owed to him.            The

     6    only way he would get that money back, ladies and gentlemen, is

     7    through using Henri Thomet and Evdin.

     8               So what did they do?

     9               If we could go to the next slide, please.

    10               EM 137, ladies and gentlemen, is an e-mail that I

    11    think you're all familiar with, the cleaning tools e-mail, an

    12    e-mail written by the Defendant where he says, "To Whom It May

    13    Concern, Attached are three photos showing suggested methods of

    14    cleaning wood crates."

    15               Now, look at the pictures of each of these wooden

    16    crates.   There's one thing in common:       The words "Made in

    17    China."   What does this show us, ladies and gentlemen?          What

    18    does this tell us?

    19               It tells us that the Defendant wanted to ship Chinese

    20    ammunition knowing that it was prohibited and he was willing to

    21    defraud the United States by concealing its origin and he

    22    wanted to do it by scraping off the "Made in China."

    23               But look at how the e-mail is written, ladies and

    24    gentlemen, "To Whom It May Concern."

    25               Why would the Defendant, who he's sending this e-mail
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 22 of 135
                           Closing Argument by Mr. Schwartz                      22


     1    to Efraim Diveroli and David Packouz, use such strange

     2    introductory language?

     3                It's because he knew how incriminating this e-mail is

     4    because he knew it showed his intent and his idea to create a

     5    scheme to defraud the United States, ladies and gentlemen.

     6                So he wanted to try to distance himself in case this

     7    e-mail came to light, in case what actually has happened today

     8    happened.

     9                But let's take another look, ladies and gentlemen.

    10    Why is he talking about ways to clean wooden crates?           Look at

    11    the crates.    There's no mud on these crates.       There's no dust.

    12    The only thing dirty on these crates are the words "Made in

    13    China."

    14                And that's a badge of fraud the Defendant didn't want

    15    to wear because he knew "Made in China" was prohibited.           He

    16    knew that Chinese sources were prohibited.         This was an idea, a

    17    way, for them -- for the Defendant and his co-conspirators to

    18    defraud the United States and conceal the origin of this

    19    ammunition.

    20                But there was a problem with the Defendant's idea.

    21    Oh.   And we also know that that's the purpose of why this

    22    e-mail was sent because, you'll remember, in May of 2008 -- you

    23    heard the testimony of Special Agent Perez, who testified there

    24    on that stand.

    25                He said that he was asked about this e-mail.        He first
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 23 of 135
                           Closing Argument by Mr. Schwartz                      23


     1    denied that he wrote it.      Then he sighed, admitted, "Yes.        I

     2    wrote this e-mail."     And he wrote the e-mail, as he told

     3    Special Agent Perez, as an idea to scrape off the Chinese

     4    markings, an idea to conceal the Chinese origin of this

     5    ammunition.

     6               Let's go on to the next slide, please.

     7               The problem with the Defendant's original idea is that

     8    it wouldn't work.     Why?   Because the following day, April 26th,

     9    Alexander Podrizki came back with more pictures and followed up

    10    on his research.

    11               We found out that there was Chinese markings all over

    12    the tins themselves as well as, once you opened the Chinese

    13    tins, there were ammunition data cards with Chinese writing,

    14    slips of paper with Chinese writing.        Even the ammunition

    15    itself was wrapped in paper that had Chinese markings.

    16               So what were they going to do?       They had to figure out

    17    a way then to repackage this ammunition completely.           And that's

    18    what they decided to do.      They had to remove the ammunition

    19    from the wooden crates, remove the wooden crates -- the tins

    20    from the wooden crates, open up the metal tins, remove all the

    21    paper wrappings, unwrap all -- every single round of

    22    ammunition, rewrap it, repackage it.        It's a time-consuming and

    23    costly process.

    24               If we can go to the next slide, please.

    25               THE COURT:    You have 30 minutes.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 24 of 135
                           Closing Argument by Mr. Schwartz                      24


     1               MR. SCHWARTZ:    And we know, ladies and gentlemen, that

     2    the weight of the ammunition was an issue and, as we saw in

     3    this pictures, 47.3, that Special Agent Wiesner took of the

     4    Hungarian ammunition that AEY supplied under the contract, to

     5    save on weight, they removed the wooden crates.

     6               That's all fine.     But the only ammunition that they

     7    decided to remove the tins and all the paper wrapping was the

     8    Chinese ammunition, which tells you one thing.          The only reason

     9    you would repackage that ammunition is to conceal the Chinese

    10    origin of the ammunition.

    11               Next slide, please.

    12               So there was just one problem.       They had an idea to

    13    provide and repackage this Chinese ammunition.          But,

    14    originally -- it's going to take time because that's a

    15    time-consuming process, as you heard from David Packouz.

    16               So they were first going to supply as much Albanian

    17    ammunition as they could to allow time for the Chinese

    18    ammunition to be repackaged.

    19               And the Defendant was well aware and involved in this

    20    decision, as you can see in EM 144, an e-mail from the contact

    21    in Albania who explains to Ralph Merrill, who is cc'd on the

    22    e-mail, "I suggest the following program after the first

    23    delivery of tomorrow:      Due to the Chinese packing, we will

    24    begin with Albanian production of 7.62 by 39.          We do not have

    25    Albanian Tracer for both calibers."
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 25 of 135
                           Closing Argument by Mr. Schwartz                      25


     1               And he continued on to say, "Two delivery of 7.62 by

     2    54 ball and Tracer, Chinese production.         The goods must be

     3    repacking, as we will agree on the form, (wooden boxes

     4    repainted or carton boxes that will arrive in Albania)."

     5               Well, we know they went with the latter, with

     6    cardboard repackaging, which required [sic] another issue,

     7    another problem.     They didn't know that the Government -- the

     8    US Government was going to accept cardboard-boxed ammunition.

     9               So as you heard from David Packouz, they had to come

    10    up with another lie.      The lie was that there was some problem

    11    with the ammunition that required a complete inspection of

    12    every single round.     And so they decided to repackage it in

    13    cardboard boxes.

    14               And he sent an e-mail off to Major Walck in

    15    Afghanistan, and Major Walck said, "That sounds fine to me.

    16    It's an acceptable reason to do so."

    17               But that was a lie, and you heard that from David

    18    Packouz.    And when you look at that e-mail back in the jury

    19    room, the Defendant was never cc'd or sent any part of that

    20    chain.

    21               So his only mention of it, ladies and gentlemen,

    22    during this trial -- the only way he probably found out about

    23    it was through preparation to testify here today.

    24               So this was the original plan.

    25               Let's move on to the next slide, please.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 26 of 135
                           Closing Argument by Mr. Schwartz                      26


     1               The Defendant went down and we saw that he was

     2    involved in a lot of series of number-crunching.          He wanted to

     3    make sure that he could maximize his profits because all this

     4    repackaging was going to be kind of expensive.

     5               And we saw in EM 154 that he did a comparison between

     6    Albanian and eastern ball ammunition.        Why doesn't he use the

     7    word "Chinese ammunition"?       Because, again, it's a badge of

     8    fraud the Defendant did not want to wear.

     9               Nowhere does any other Defendant use the word "eastern

    10    ammunition."    That's the Defendant's own making.        It's his code

    11    because he knows that this e-mail is incriminating because he

    12    knows that Chinese ammunition is prohibited.         It's a bad code,

    13    ladies and gentlemen.      You can see through it pretty clearly,

    14    but a code nonetheless.

    15               But he found out that Albanian ammunition didn't have

    16    as many rounds per crate as the Chinese.         So when they were

    17    first going to ship the Albanian, it was going to end up

    18    costing them more money because they'd have to do it in more

    19    flights.

    20               And then, ladies and gentlemen, he realized that the

    21    cost of repackaging would be so expensive.         It would eat into

    22    his profit margins and AEY's profit margins.

    23               So what did he do?     He leveraged Henri Thomet, based

    24    upon the fact that this ammunition was manufactured in

    25    Communist China.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 27 of 135
                           Closing Argument by Mr. Schwartz                      27


     1               Next slide, please.

     2               EM 175, overt act listed in Paragraph 15, the

     3    circumvention concerns e-mail that we -- I'm sure we're all

     4    familiar with now.     "It seems to be a double negative to lose

     5    money and assume considerable risk."

     6               What were the risks?      The risks were that the

     7    Government would find out that they were concealing the fact

     8    and actually supplying Chinese ammunition.

     9               If we can go to the next slide, please.

    10               Let's break this e-mail down a little bit more.          Well,

    11    first of all, we know from the Defendant's statements to the

    12    Government back in May of 2008 that he wrote this e-mail and he

    13    wrote this e-mail with the intention to leverage Henri Thomet

    14    for a better price.

    15               And what do I mean by "leverage"?        It means -- I mean

    16    that he was going to threaten to walk away from the deal in

    17    order to get a better price.

    18               But was he really going to walk away from the deal?

    19    No.   He knew he didn't have time to find another source and he

    20    knew that, if he walked away from Henri Thomet, he could say

    21    goodbye to his half million dollars.        So it was another

    22    righteous ruse so the Defendant could get a better price.

    23               But this shows how involved and how much the Defendant

    24    knew about what was going on.       He writes, "Hi, Henri.      I had a

    25    lengthy conversation with Efraim this afternoon to get as many
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 28 of 135
                           Closing Argument by Mr. Schwartz                      28


     1    details as he knows at this point."

     2               And he talks about how his agent, Alex, found a

     3    company that would do the repackaging for 300,000 to $500,000.

     4    It's pretty expensive.      He says he knows the name of this

     5    repackager.    It was Kosta Trebicka.

     6               The Defendant went on and explained that, "With the

     7    disastrous news about the shipping, the origin of the ammo and

     8    now the repacking, we are donating to the Government.           If we

     9    have decided to do that, because if we do not deliver something

    10    [sic], even if it's late, we will lose the entire contract."

    11               The disastrous news about the origin of the ammo.

    12    What is he referring to there, ladies and gentlemen?           The fact

    13    that it came from China, that it was Chinese.

    14               Why didn't he just say that in that e-mail?         Well,

    15    because people don't like to admit when they're defrauding the

    16    Government and say it point-blank in e-mails or in written

    17    communications.

    18               So he uses another code.      And this cagey language,

    19    ladies and gentlemen, is consciousness of the Defendant's guilt

    20    because he knew what he was doing was wrong.

    21               And he went on to explain, "There is also the risk

    22    element regarding the reason for repacking.         It seems to be a

    23    double negative to lose money and assume considerable risk."

    24               How realistic is that risk?       Banko, who we heard from

    25    David Packouz was another source, already knows too much.            He
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 29 of 135
                           Closing Argument by Mr. Schwartz                      29


     1    called Efraim asking for some of the grenade order and warned

     2    him to inspect the Albanian ammo for the reason it needs

     3    repacking.

     4               Because Albania has Chinese ammunition and that's what

     5    they wanted AEY to ship and that's exactly what the Defendant

     6    and AEY did ship.     And so this was opening the renegotiation,

     7    leveraging because this ammunition was made in China.

     8               And what happened next?

     9               Well, the next slide, please.

    10               We heard from David Packouz and we saw from the

    11    e-mails that Efraim Diveroli went to Albania to finish the

    12    renegotiation.     And the Defendant was well aware of the results

    13    of that renegotiation, as we can see here in e-mail EM 187.

    14               It listed the new terms, the fact the prices were

    15    going to get a little bit lower and that now MEICO, the

    16    Albanian wing that sold this ammunition, was going to handle

    17    the repackaging.     The Defendant was well aware of this.

    18               Next slide, please.

    19               So what else allowed the Defendants to perpetrate this

    20    fraud and this scheme to defraud?        Well, you heard, ladies and

    21    gentlemen, from the contracting officer, Kim Jones.

    22               She explained that, in cases like this, in wartime

    23    acquisitions or wartime acquiring of ammunition,

    24    self-certification is how the Army obtains armaments and

    25    ammunition because you're in a war zone and there's not the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 30 of 135
                           Closing Argument by Mr. Schwartz                      30


     1    manpower to inspect every single round of ammunition.

     2               The Defendants knew this and took advantage of it.          So

     3    they lied in the self-certifying certificates of conformance.

     4    And we can see that right here in Government Exhibit 4.

     5               If we can move on to the next slide, please.

     6               So what did the Defendant do?       Well, once the scheme

     7    was put into place -- and, originally, you heard they supplied

     8    Albanian ammunition until the middle of June and then, from

     9    that point on, it was all repackaged Chinese ammunition, which

    10    was against the contract and not acceptable -- the Defendant

    11    remained constantly involved with all facets of this operation.

    12               You can see here in EM 197, an e-mail from Evdin,

    13    Henri Thomet, where he explains, "Dear Efraim, Dear Ralph, It

    14    was nice talking to you last night.        Congratulations on the new

    15    order, Task Order 3."      He's still having conference calls with

    16    his supplier and his co-conspirators.

    17               Next slide, please.

    18               We also know that the Defendant furthered the scheme

    19    and was involved as a co-conspirator because he provided money

    20    and paid Evdin so this ammunition could start getting shipped

    21    and start being moved under the contract.

    22               Next slide, please.

    23               But unfortunately for the Defendant, you heard that

    24    Special Agent Michael Mentavlos was investigating AEY for

    25    completely separate and apart reasons.         He was investigating
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 31 of 135
                           Closing Argument by Mr. Schwartz                      31


     1    AEY because of licensing violations.        A search warrant took

     2    place in August of 2007.

     3               And after that search warrant, you heard what David

     4    Packouz did.    He told you.     He went to the Government, knocked

     5    on the door and said, "Listen, I'm sorry.         We've been supplying

     6    Chinese ammunition in violation of the contract.          We've been

     7    concealing it from you."        And he admitted and explained what

     8    was going on.

     9               Now, Special Agent Mentavlos didn't just take David

    10    Packouz at his word.      No.    You heard that, at the end of

    11    October, beginning of November, he flew to Albania to see for

    12    himself what was going on.

    13               And we see here in Government Exhibit 40.1 that he saw

    14    the repackaging operation at the hangar.         And you saw the

    15    pictures and you heard that he obtained samples from there and

    16    samples from bunkers to compare to the Chinese ammunition.             He

    17    took a lot of photographs, and it confirmed everything that

    18    David Packouz told him.

    19               And you heard from Special Agent Mentavlos, who

    20    testified that he confronted David Black, David Black, who was

    21    the man on the ground, as you heard from his testimony, from

    22    August until October to oversee the repackaging operation to

    23    make sure it went off without a hitch.

    24               And as soon as David Black was confronted, it was only

    25    then that AEY stopped and the Defendant stopped providing this
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 32 of 135
                           Closing Argument by Mr. Schwartz                      32


     1    Chinese ammunition.     They stopped this repackaging operation.

     2    What does that say, that they waited until -- they knew that

     3    investigators caught them red-handed to stop?          It shows that

     4    they were conscious of the guilt, that they knew what they were

     5    doing was completely wrong.

     6                Now -- next slide, please.

     7                The Judge is going to give you instructions on how to

     8    evaluate witnesses' testimony to determine whether or not

     9    they're credible.

    10                And you heard from David Packouz.       David Packouz told

    11    you, ladies and gentlemen, that the Defendant was involved in

    12    the scheme to defraud from the very beginning and that, even on

    13    April 20th, he was in conference calls with Efraim Diveroli,

    14    figuring out ways to conceal the origin of this Chinese

    15    ammunition.

    16                He also told you that it was clear for everyone and

    17    that the Defendant knew that there was no legal way to provide

    18    this ammunition under the contract.        That's what David Packouz

    19    told you.

    20                Now I'm sure defense counsel is going to come up here

    21    and explain to you why you can't trust a word that David

    22    Packouz said, why you can't trust a person who pled guilty and

    23    is trying to get a better deal from the Government.

    24                Well, let's talk about that briefly.

    25                First of all, ladies and gentlemen, this isn't the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 33 of 135
                           Closing Argument by Mr. Schwartz                      33


     1    case where the Government knocked on David Packouz's door,

     2    confronted him with incriminating evidence and David Packouz

     3    confessed.    No.   It's the exact opposite.

     4                Before David Packouz faced any charges, he came to the

     5    Government.    Before he knew he would face any criminal

     6    liability, he came forward and told the Government what was

     7    going on.    And all that was verified, as you heard from Special

     8    Agent Mentavlos.

     9                You also heard, ladies and gentlemen, that, sure,

    10    David Packouz is testifying today to get a reduced sentence.

    11    But to get that reduced sentence, you heard the Court will only

    12    provide it, not the Government, and it's only if he tells the

    13    truth.   He has no outcome (verbatim) in what happens to the

    14    Defendant in this case.

    15                But, also, ladies and gentlemen, everything David

    16    Packouz told you was confirmed and corroborated by the e-mail

    17    evidence before you.      And you can't say that about the

    18    Defendant's testimony.

    19                Now, the Judge is going to instruct you that

    20    individuals who have used drugs, you may consider their

    21    testimony a little bit differently.        But think about it, ladies

    22    and gentlemen.

    23                Did what David Packouz tell you make sense?        Did it go

    24    along with what was said in those e-mails?         The Defendant

    25    didn't even know that David Packouz and Efraim Diveroli were
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 34 of 135
                           Closing Argument by Mr. Schwartz                      34


     1    using drugs at that time.      What does that tell you?       It means

     2    that David Packouz knew what was going on at that time.

     3               So let's talk about the indictment.

     4               Next slide, please.

     5               Again, Count 1 is the conspiracy charge.         And we

     6    talked about the three objects of the conspiracy.

     7               The Defendant is also charged with the substantive

     8    offenses, the actual offenses, of major fraud and attempted

     9    major fraud against the United States -- that's a scheme to

    10    defraud relating to a Government contract valued at a million

    11    dollars or more -- and wire fraud.        Again, a scheme to defraud

    12    the United States concealing the origin of the ammunition and

    13    that used the wires.

    14               Now, when looking at these offenses, the lie or the

    15    scheme to defraud has to be about a material fact.          And what is

    16    a material fact?     Well, the Judge is going to instruct you that

    17    a material fact is a fact that would influence the

    18    decision-maker's decision.       It makes sense.

    19               So how do we know that the Chinese ammunition -- the

    20    fact that they were shipping Chinese ammunition was a material

    21    fact?   Well, let's back up for a second and figure out:          How do

    22    we know for a fact that the ammunition shipped was Chinese?

    23               Well, we first heard the testimony of David Packouz,

    24    saying from mid-June on, the rest of his tenure at AEY, the

    25    ammunition shipped was Chinese.       You heard from David Black
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 35 of 135
                           Closing Argument by Mr. Schwartz                      35


     1    that, during his stint in Albania from August to October,

     2    Chinese ammunition was what was being shipped.

     3               You also heard from Special Agent Albert Wiesner, who

     4    went to Afghanistan.      He went to 22 bunkers.     He went to the

     5    containers that contained AEY ammunition based upon the records

     6    kept and he took samples.      Those samples, ladies and

     7    gentlemen -- all the samples from the cardboard boxes came back

     8    as positive for Chinese.

     9               We know that from Jerry Miller, the US crime lab

    10    expert, who not only looked at the head stamps, but actually

    11    compared it to known standards the US Army's vast library of

    12    known ammunition.

    13               We also know that from Dr. Chueng, who was an expert

    14    in the Chinese defense industry, who told you that those

    15    factories, ladies and gentlemen, that matched the heads stamps,

    16    well, those were manufactured in Communist China by Communist

    17    Chinese military companies, which as -- the contract defines

    18    them as any entity owned or operated by either the Government

    19    or the Chinese military.

    20               And as Dr. Chueng told you, things haven't changed

    21    since 1949 until today.      Military items in China are made by

    22    the Chinese Government and the military.

    23               So we know the ammunition is Chinese.        In fact,

    24    defense own expert said it was most likely Chinese.           He said

    25    that he couldn't confirm exactly because he didn't do the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 36 of 135
                           Closing Argument by Mr. Schwartz                      36


     1    followup work that Dr. Chueng and Dr. -- and Jerry Miller did.

     2               So how is this a material fact?       Well, first of all,

     3    you heard from Kim Jones, the actual contracting officer on

     4    this case.    She told us that, if she knew the ammunition being

     5    shipped was manufactured in China, she wouldn't have accepted

     6    that ammunition and she wouldn't have paid for that ammunition.

     7    That's how we know this is a material fact.

     8               But we also know from the -- from David Packouz that

     9    this ammunition, everybody knew, was prohibited and couldn't be

    10    supplied to the Government.

    11               The third reason we know is, well, the contract

    12    itself, Page 10 and 11 of Government Exhibit 1, the definition

    13    of "Communist Chinese military company," as you heard and you

    14    saw and you listened to the testimony of Dr. Chueng, who told

    15    you, "Yes.    This ammunition came from the Communist Chinese

    16    military company."

    17               And the Judge is going to instruct you on what the

    18    word "acquire" means.      It means to gain possession of.       And,

    19    ladies and gentlemen, as you'll hear, as you know, under that

    20    contract, if that ammunition touched a Communist Chinese

    21    military company at any level, directly or indirectly, it's in

    22    violation of the contract.

    23               So let's talk about conspiracy.

    24               Next slide, please.

    25               What does the Government have to prove?         We have to
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 37 of 135
                           Closing Argument by Mr. Schwartz                      37


     1    show, first, that -- beyond a reasonable doubt that two or more

     2    persons in some way agreed to try to accomplish a shared and

     3    unlawful plan; second, that the Defendant knew of the unlawful

     4    purpose of the plan and willfully joined it; third, that during

     5    the conspiracy, one of the conspirators knowingly engaged in at

     6    least one overt act, as described in the indictment -- and we

     7    went through all those overt acts -- and, four, the overt act

     8    was committed on or about the time alleged and with the purpose

     9    of carrying out or accomplishing some object of the conspiracy.

    10               So how do we know that the Defendant joined this

    11    conspiracy?    Well, first of all, we heard from David Packouz

    12    and his testimony.     He told you the Defendant was involved with

    13    the plan and the scheme to defraud the United States to conceal

    14    the origin of the ammunition from the very beginning.           He was

    15    on conference calls with Efraim Diveroli and David Packouz.               He

    16    knew exactly what was going on.

    17               But we also know through the Defendant's own e-mails.

    18               Next slide, please.

    19               We saw -- and I don't want to belabor the point, but

    20    we saw e-mails showing the Defendant knew this ammunition was

    21    manufactured in China.

    22               We saw e-mails where the Defendant came up with ways

    23    to conceal the markings -- to conceal the Chinese origin.            We

    24    saw e-mails where the Defendant talked about eastern

    25    ammunition.    He uses his code.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 38 of 135
                           Closing Argument by Mr. Schwartz                      38


     1               We saw e-mails that showed the Defendant renegotiated

     2    and tried to get a better price for this ammunition because it

     3    was Chinese and they were going to have to conceal the fact and

     4    take a risk to supply it.

     5               And, last, there were e-mails showing that the

     6    Defendant was paying for this ammunition so the fraud and the

     7    scheme could be furthered and advanced.

     8               But we also know for another reason:        The Defendant's

     9    own confession to investigators in May of 2008.          Ladies and

    10    gentlemen, remember, he confessed to writing both that cleaning

    11    tools e-mail and the circumvention concerns e-mail.           At first,

    12    he denied, took a deep breath, exhaled and said, "Yes.           I wrote

    13    that."

    14               We know that he wrote it because he was thinking of

    15    ways to try to scrape off the Chinese markings.          That's what he

    16    told Special Agent Perez.      And Special Agent Perez testified to

    17    that to you on the stand.

    18               He also admitted that he was well aware that the State

    19    Department said "no" when asked if they could supply this

    20    ammunition, a firm "no."

    21               He also admitted that he and Diveroli tried to

    22    renegotiate for a lower price based upon the fact this

    23    ammunition was made in China.

    24               And, last, he even told Special Agent Perez that he

    25    was playing high-stakes poker with the Government.          He
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 39 of 135
                           Closing Argument by Mr. Schwartz                      39


     1    confessed, ladies and gentlemen, to the crimes.

     2                Next slide, please.

     3                Now, let's move -- moving on to the other two

     4    offenses, the major fraud against the United States and the

     5    wire fraud offenses, I just want to advise you of another

     6    instruction the Judge is going to provide.

     7                The Judge is going to instruct that, if you find that

     8    the Defendant joined this conspiracy -- and I submit that we've

     9    proven that to you beyond a reasonable doubt -- if you find

    10    that any of the co-conspirators carried out the crimes alleged

    11    in the indictment, the substantive actual offenses, beyond a

    12    reasonable doubt, and it was foreseeable to the Defendant that

    13    these -- that his co-conspirators were going to do these

    14    crimes, the Defendant is equally guilty.         Keep that in mind.

    15                Next slide, please.

    16                Let's talk about major fraud, Counts 37 through 71.

    17                To show that the Government must prove, first, that

    18    the Defendant knowingly used or tried to use a scheme with the

    19    intent to defraud the United States to get money by using

    20    materially false or fraudulent pretenses, representations or

    21    promises.

    22                So the scheme here, as charged, is that the

    23    Government -- they were going to defraud and conceal from the

    24    Government the fact that the ammunition they were providing was

    25    manufactured in China.      That's what's alleged in the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 40 of 135
                           Closing Argument by Mr. Schwartz                      40


     1    indictment.

     2               Second, that the scheme took place as part of

     3    acquiring money as a contractor with the United States.           And we

     4    know that this relates to a contract, the contract between the

     5    Army Sustainment Command and AEY for this ammunition.

     6               And, third, that the value of this contract or

     7    subcontract was for a million dollars or more.

     8               We know the Defendant was involved in the scheme to

     9    defraud.    He came up with ideas, ladies and gentlemen.         He was

    10    the idea man.    He paid for this ammunition so they could

    11    actually supply it.     He renegotiated for a lower price so they

    12    could actually repackage this ammunition and still make a

    13    profit.    He was involved from the very beginning.

    14               So you may be thinking, "Well, if there's all these

    15    charges, what does that mean?"       Well, each of the actual

    16    counts, ladies and gentlemen, are the payments made by the

    17    Government for this ammunition that was Chinese.

    18               And you'll see, ladies and gentlemen, if you find that

    19    the Defendant was involved in that scheme to defraud, well, the

    20    counts really aren't at issue.

    21               See, ladies and gentlemen, Government Exhibit 39 -- it

    22    lists each of the invoice dates and shipment numbers and

    23    payment dates.     Those are agreed between the parties.        Those

    24    match up exactly in Government Exhibit 39 with Counts 37

    25    through 71.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 41 of 135
                           Closing Argument by Mr. Schwartz                      41


     1               So let's talk about -- and, also, ladies and

     2    gentlemen, he's charged with attempt.        So even if you find the

     3    Government wasn't actually defrauded, but that the Defendant

     4    took a substantial step by sending e-mails, by coming up with

     5    ideas of ways to defraud, the Defendant is also guilty.

     6               Let's go to the next slide, please.

     7               In Counts 72 and 74 through 85, the Defendant is

     8    charged with wire fraud.      To prove that, the Government must

     9    show, first, that the Defendant knowingly devised or

    10    participated in a scheme to defraud or to obtain money by using

    11    false pretenses, representations or promises.

    12               And here, as charged, the scheme to defraud was

    13    concealing the Chinese origin of the ammunition.

    14               Second, the false pretenses, representations or

    15    promises were about a material fact.

    16               And here, we're talking about the fact that this

    17    ammunition was Chinese was a material fact, and we've discussed

    18    why it was.

    19               Third, the Defendant acted with the intent to defraud

    20    through his e-mails, his words and his own confession, ladies

    21    and gentlemen.     That's blatantly clear.

    22               And, last, the Defendant caused or caused to be

    23    transmitted by wire some communication in interstate or foreign

    24    commerce to help carry out the scheme to defraud.

    25               Let's talk about that last element.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 42 of 135
                           Closing Argument by Mr. Schwartz                      42


     1               Well, ladies and gentlemen, what's charged here are

     2    two e-mails, an e-mail from Efraim Diveroli forwarded to Ralph

     3    Merrill in Utah, explaining that the Department of State said

     4    "no."

     5               And the other charge, Count 74, is the e-mail -- the

     6    cleaning tools e-mail that the Defendant sent from Utah to

     7    Efraim Diveroli and David Packouz in Miami explaining ways to

     8    try to clean the crates.

     9               So those were those communications.

    10               But the remaining counts, Counts 75 through 85, are a

    11    selection -- not all, but a selection -- of wire payments made

    12    to AEY under the contract.

    13               It was reasonably foreseeable that the Defendant knew

    14    that AEY was going to be paid by wires because we're talking

    15    about millions of dollars here.       We've proven those beyond a

    16    reasonable doubt.     Those aren't in dispute.      Special Agent

    17    Perez testified about this.

    18               If we can go to the next slide, please.

    19               Let me just take an example:       Count 79.    Well, first

    20    of all, you see in Government Exhibit 17, in those certificates

    21    of conformance, those documents that they had to submit to the

    22    Government in order to get an invoice so they would get paid on

    23    the contract.    They had to lie and say that the ammunition was

    24    produced in Albania.

    25               But it also includes an invoice number and a shipment
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 43 of 135
                           Closing Argument by Mr. Schwartz                      43


     1    number.   The invoice number is what's listed on the charges in

     2    the wire fraud counts.

     3               And you heard from Special Agent Perez that AEY had an

     4    arrangement.    Well, first, the Defendant would pay MEICO and

     5    Evdin the money to supply the ammunition and, once AEY

     6    submitted these certificates of conformance, they would have to

     7    wait 30 days after an invoice was issued.

     8               So they went into an arrangement with Wells Fargo

     9    business bank.     What Wells Fargo did was, after they received

    10    an invoice, they would pay 85 percent of the invoice amount up

    11    front to AEY's bank account at Wachovia in Miami.

    12               And then, in 30 days, when the Army was ready to pay,

    13    the Army would pay directly to Wells Fargo.         Wells Fargo would

    14    deduct any interest and any fees and forward on the remaining

    15    money to AEY's bank account in Wachovia.         And that's what's

    16    charged here.

    17               If we can go to the next slide, please.

    18               THE COURT:    You have 10 minutes.

    19               MR. SCHWARTZ:    As you can see in Government

    20    Exhibit 75-E, for an example -- this is Count 79, AEY -- it

    21    shows here that the invoice came in.        And that invoice number,

    22    GOV101B21 -- that's going to be on the indictment itself.            It

    23    shows that they forwarded the original amount.

    24               And then -- continue to the next page -- 75-E also

    25    shows that this money was then ultimately forwarded on to
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 44 of 135
                           Closing Argument by Mr. Schwartz                      44


     1    Wachovia Bank of Florida.      It originally went through the

     2    clearinghouse in Jacksonville, but ended up in AEY's bank

     3    account in Wachovia in Miami.

     4               We know this traveled through interstate and

     5    foreign commerce because, ladies and gentlemen, in Government

     6    Exhibit 39, there's a stipulation that the parties agreed to.

     7    It's a proven fact that the ammunition -- sorry -- that the

     8    funds went from Denver, from Wells Fargo, to Miami.

     9               So, ladies and gentlemen, these wire counts, as you

    10    can see in 75-A through -E that Special Agent Perez went

    11    through -- it was a little laborious, a little boring -- that's

    12    what he was talking about.

    13               These wires aren't really in dispute here.         So if you

    14    found that the Defendant was involved in this scheme to defraud

    15    the United States by concealing the origin of the ammunition,

    16    the actual wire transfers and e-mails aren't really in dispute.

    17               So -- next slide, please.

    18               Why did the Defendant do it?       It's greed, pure and

    19    simple.   He didn't do it to support the war on terrorism.           He

    20    didn't do it to help the troops in Afghanistan.

    21               He did it to make money.      And the Defendant wasn't

    22    going to let the truth get in the way of his profits.           He

    23    didn't want it to affect his profit margin.

    24               So you heard in the Defendant's own words that he was

    25    going to play a game of high-stakes poker with the Government
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 45 of 135
                                                                                 45


     1    and conceal the origin of the ammunition.

     2                He was hoping that the Government wouldn't call his

     3    bluff.   The Defendant gambled and lost, ladies and gentlemen.

     4    The evidence proves beyond a reasonable doubt the Defendant's

     5    guilt.

     6                There is only one verdict consistent with all the

     7    evidence that you've heard over this past month, ladies and

     8    gentlemen, and it's a verdict of guilty as to all counts.

     9                THE COURT:    We're going to take a break.

    10                Do not discuss this case either amongst yourselves or

    11    with anyone else.     Have no contact whatsoever with anyone

    12    associated with the trial.        Do not read, listen or see anything

    13    touching on this matter in any way.

    14                If anyone should try to talk to you about this case,

    15    you should immediately instruct them to stop and report it to

    16    my staff.

    17                You may leave your notebooks at your chairs.        Please

    18    be back in the jury room in ten minutes.

    19                (Whereupon, the jury exited the courtroom at

    20    10:56 a.m. and the following proceedings were had:)

    21                THE COURT:    We're in recess for ten.

    22                MR. STIRBA:   Your Honor, may I --

    23                THE COURT:    One moment.

    24                MR. STIRBA:   Sure.

    25                THE COURT:    You may be seated.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 46 of 135
                                                                                 46


     1               Yes.

     2               MR. STIRBA:    Yes, your Honor.     It's a very small

     3    housekeeping matter.

     4               Counsel brought up some material that I think I need

     5    to address a little bit differently than I thought.

     6               So I'd like to have an hour and 15 minutes.         And if

     7    your Honor would kindly give me a warning at the one-hour mark,

     8    meaning I have 15 minutes to go, I would appreciate that.

     9               THE COURT:    And you still want the five-minute

    10    warning?

    11               MR. STIRBA:    No.    I think --

    12               THE COURT:    Just a one-hour?

    13               MR. STIRBA:    I think a one-hour.      That should be

    14    sufficient, Judge.

    15               THE COURT:    So you want an hour and 15 minutes and

    16    then you want me to warn you when you have an hour remaining?

    17               MR. STIRBA:    Yes, your Honor.     Thank you.

    18               THE COURT:    Okay.    We are in recess for ten.

    19               MR. TAMEN:    Judge, a quick question.

    20               Do you anticipate going all the way through closing

    21    and then rebuttal before lunch or are we going to break for

    22    lunch after the defense closing?

    23               THE COURT:    I think we're going to go straight

    24    through.    I'm going to have Patricia give them menus and they

    25    will have lunch as soon as we conclude and I instruct them on
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 47 of 135
                                                                                 47


     1    the law.

     2               We're in recess for ten.

     3                (Thereupon a recess was taken, after which the

     4    following proceedings were had:)

     5               THE COURT:    United States of America versus Ralph

     6    Merrill, Case No. 08-20574.

     7               Counsel, state your appearances, please, for the

     8    record.

     9               MR. TAMEN:    Good morning, your Honor.

    10               Frank Tamen, Adam Schwartz and Eloisa Fernandez for

    11    the United States.

    12               THE COURT:    Good morning.

    13               MR. STIRBA:    Good morning, your Honor.

    14               Peter Stirba and Nathan Crane on behalf of

    15    Mr. Merrill.

    16               And Mr. Merrill is present.

    17               THE COURT:    Good morning.

    18               Are we ready?

    19               Mr. Stirba, are you ready?

    20               MR. STIRBA:    Yes, your Honor.     Thank you very much.

    21               THE COURT:    So let's bring in the jury, please.

    22               (Whereupon, the jury entered the courtroom at

    23    11:11 a.m. and the following proceedings were had:)

    24               THE COURT:    You may be seated.

    25               You may proceed.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 48 of 135
                            Closing Argument by Mr. Stirba                       48


     1               MR. STIRBA:    Thank you.

     2               May it please the Court, counsel, Mr. Merrill.

     3               Ladies and gentlemen of the jury, good morning.

     4               THE JURY:    Good morning.

     5               MR. STIRBA:    I get to the point in a trial like this

     6    where I feel a great weight and obligation --

     7               THE COURT:    Mr. Stirba, can you make sure that

     8    microphone is working?      Just give it a tap.

     9               MR. STIRBA:    Thank you.

    10               As I was saying, ladies and gentlemen, I get to the

    11    point in this process and I feel a great weight and

    12    responsibility because the Government, because of the burden of

    13    proof, will have an opportunity to talk to you again.           I won't.

    14               So I really have to get it right and I have to get it

    15    accurate and I have to really make sure that, since this is my

    16    last chance, that I do it well.

    17               One thing I'll tell you:      There are 17 of you and

    18    there's only one of me.      As I go through the facts, you might

    19    notice that I've taken notes and I've certainly reviewed some

    20    documents and I'll try to accurately tell you what the evidence

    21    has shown.

    22               But if for some reason you go back into the jury room

    23    and your collective memory is different than mine, please go

    24    with your collective memory.

    25               Now, this is not a civil case, ladies and gentlemen.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 49 of 135
                            Closing Argument by Mr. Stirba                       49


     1    As you know, it's a criminal case.        And there's a standard of

     2    proof in a criminal case:      Beyond a reasonable doubt.       It's the

     3    standard of proof that the Government must convince you of on

     4    each and every element of the crime in order for you to convict

     5    Mr. Merrill.    It's the highest standard of proof that we have

     6    in the American system of justice.

     7               For example, it's higher than the standard of proof in

     8    a civil personal injury case that might involve millions of

     9    dollars.    It's higher than the standard of proof in a civil

    10    rights case that might involve constitutional issues.           It's

    11    even higher than the kind of standard you might see where the

    12    State is trying to take a child away from an unfit parent.

    13               It is very, very important to our system of justice

    14    because you realize Mr. Merrill, as he sits there now and

    15    throughout the entire proceeding, is presumed innocent.           That

    16    presumption stays with him unless and until you adjudicate him

    17    guilty.

    18               And based upon this record and these facts, I submit

    19    the evidence hasn't been proven beyond a reasonable doubt and

    20    that will not be your verdict.

    21               He doesn't have to present any evidence.         It's all on

    22    the Government.     The burden is on the Government to convince

    23    you beyond a reasonable doubt that they have proven their case.

    24    He doesn't have to prove anything.

    25               The reason why that presumption is there, ladies and
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 50 of 135
                            Closing Argument by Mr. Stirba                       50


     1    gentlemen, is because our system is based upon the fact that

     2    where somebody may be falsely accused, it acts as a shield,

     3    provides protection, provides rights, so that we don't end up

     4    convicting people who are indeed innocent.

     5                It's also the reasonable doubt -- you'll be

     6    instructed it's the kind of doubt that you have to have where

     7    you don't hesitate at all.       You don't hesitate about making the

     8    decision that you're going to make.

     9                So it's not a situation where you may say, "Well,

    10    Mr. Merrill may be guilty.       Mr. Merrill sort of is guilty.

    11    Mr. Merrill more likely than not is guilty."         That's not the

    12    standard.

    13                The standard is you have to believe in your own heart

    14    and your own mind without any hesitation that Mr. Merrill is,

    15    in fact, guilty of what he's charged.        And if you have a

    16    hesitation, that's reasonable doubt.        If you have a hesitation,

    17    that means you have a duty to acquit him.

    18                And that hesitation is something where, if you pause,

    19    if you hold back, if you have any concerns, anything in the

    20    back of your mind that says maybe this isn't just right, that's

    21    reasonable doubt and you have a duty to acquit Mr. Merrill.

    22                Now, I told you, ladies and gentlemen, at the

    23    beginning, in my opening statement, that the Government had

    24    three problems.

    25                The first problem was they weren't going to be able to
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 51 of 135
                            Closing Argument by Mr. Stirba                       51


     1    convince you and prove a crime that Mr. Merrill committed.

     2               The second problem is -- and they have not under the

     3    evidence of this case.

     4               The second problem is that this contract was, in fact,

     5    performed.    There was no acquisition from a Communist Chinese

     6    military company.

     7               MR. TAMEN:    Judge, I'm going to have to object because

     8    that's not the charge.

     9               THE COURT:    Sustained.

    10               MR. STIRBA:    It's part of the facts of this case, your

    11    Honor.

    12               MR. TAMEN:    I'd ask for a curative instruction.

    13               THE COURT:    Come on up.

    14               (Whereupon, the following proceedings were had at

    15    side-bar outside the presence of the jury:)

    16               MR. TAMEN:    I think he's clearly misrepresenting the

    17    Government's obligation under this charge.         We've dealt with

    18    this in quite a few motions.       There's no requirement that the

    19    Government prove an acquisition.

    20               It only has to prove that the ammunition was acquired

    21    directly or indirectly from a Communist Chinese military

    22    company.     He's using a phrase that the Court has already held

    23    is not applicable to the charges or to the DFARS rule.

    24               MR. STIRBA:    I used the language of the contract,

    25    Judge.   Mr. Schwartz has spent a long --
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 52 of 135
                            Closing Argument by Mr. Stirba                       52


     1               THE COURT:    Where in the contract does it say that

     2    there has to be an acquisition from a Chinese military company?

     3               MR. STIRBA:    If I misspoke, I meant Communist Chinese

     4    military company.

     5               THE COURT:    That's not the issue.      The issue is an

     6    acquisition.

     7               MR. STIRBA:    Well, it says "acquire."      I'll rephrase

     8    it.   But that is the point I was trying to make.         I think it

     9    was a fair comment in closing summation, your Honor.

    10               THE COURT:    You can rephrase it.      You may make it

    11    clear to the jury that you meant acquired and not an

    12    acquisition.

    13               MR. STIRBA:    Okay.   Fine.

    14               (Whereupon, the following proceedings were had in open

    15    court:)

    16               MR. STIRBA:    May I proceed, your Honor?

    17               THE COURT:    Yes.

    18               MR. STIRBA:    Thank you.

    19               Ladies and gentlemen, sometimes there are words that

    20    are synonymous with one another.        The contract language says

    21    "acquire from a Communist Chinese military company."           I used

    22    the word "acquisition."      But we use the word "acquire."       There

    23    was no acquiring from a Communist Chinese military company in

    24    this case.

    25               And, finally, I told you that the Government would
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 53 of 135
                            Closing Argument by Mr. Stirba                       53


     1    send and have witnesses who will testify basically on

     2    untruthful things and they would try to use those untruths to

     3    somehow convince you that Mr. Merrill committed a crime.

     4               Let's talk about some of those untruths.

     5               The Government's star witness, David Packouz.           He's

     6    high on marijuana.     He's high on cocaine.      He has cut a deal

     7    with the Government.      He has an incentive to lie.      He wants a

     8    better sentence.     And the Government has spent 50 hours

     9    prepping him for his testimony before you.

    10               And he remembers -- remember, ladies and gentlemen,

    11    what he told you:     He remembers every conversation.        He

    12    remembers every e-mail.      He remembers every phone call.        He

    13    remembers everything that occurred during this relevant

    14    nine-month period, even though the while he's high, even though

    15    the while he has an incentive to lie, even the while that he's

    16    a convicted felon.

    17               Ladies and gentlemen, those are the kind of untruths

    18    that I'm talking about upon which the Government's case rests.

    19               He even comes in here.      He's on the witness stand.

    20    Remember what he said on direct?        First of all, he was shown a

    21    photograph.    It's EM 118.    It's attached to that e-mail.

    22               And they ask him, "Can you see any Chinese markings on

    23    that box?"

    24               And he said, "Yes" to the prosecutor.

    25               On cross-examination, I said to him, "Here.         Here's
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 54 of 135
                            Closing Argument by Mr. Stirba                       54


     1    the photo, right there."

     2               I showed it to him.

     3               "Now, do you see any Chinese markings on that photo?"

     4               And what did he say?

     5               "No."

     6               He lied to you.     He lied to you in his own testimony.

     7               He also lied to you in another way.        He starts off on

     8    direct testimony and says, "Mr. Podrizki was sent to Albania

     9    for assisting with the Albanians in shipping the product."

    10               I got out his plea proffer.       I said, "That wasn't

    11    true.   That's not why Mr. Podrizki went to Albanian, was it?"

    12               The plea proffer says that Mr. Podrizki went to

    13    Albania basically to repack the ammo because, before they ever

    14    knew it was Chinese in origin, before they ever knew that the

    15    Albanians were now offering that, they were going to remove the

    16    crates, they were going to remove the tins, and they were, in

    17    fact, going to repackage the ammo.

    18               But that's not consistent with the Government's

    19    theory.   So, therefore, Mr. Packouz on direct said he was only

    20    going over there to assist in the shipping.

    21               And on cross-examination, after I showed him his plea

    22    proffer and what he factually told the Court in that document,

    23    he said, "Well, yes.      What I meant to say, shipping including

    24    repacking."

    25               He lied to you again.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 55 of 135
                            Closing Argument by Mr. Stirba                       55


     1               Now, as far as the contract is concerned, the

     2    Government would lead you to believe that somehow there was an

     3    acquiring from a Communist Chinese military company.           Well,

     4    don't take my word for it.       If we could look at what the

     5    Department of Army said about this particular transaction, EUC.

     6               Now, that is a document dated March 20, 2007, by

     7    Daniel E. Stackwick, who is with the Department of Army.            He's

     8    the deputy director for security assistance.

     9               And look at what he says.      This is the Department of

    10    Army, the United States Government.

    11               "We acknowledge the Ministry of Defense of Albania,

    12    MEICO, Military Export and Import Company, Road 4, Tirana,

    13    Albania, as the foreign supplier to AEY."

    14               Not a Communist Chinese military company, not China,

    15    but Albania.

    16               Now, the Government has also presented you a number of

    17    what I call red herrings, things that really have nothing to do

    18    with this case, but they like to talk about them.

    19               First of all, the indictment period, as you go back to

    20    the jury room, you'll see, runs from April, 2007, through

    21    December of 2007.

    22               You've heard all kinds of testimony about things that

    23    occurred in 2006, before the indictment period.          That has

    24    nothing to do with this case.       It has absolutely nothing to do

    25    with the charges in this case.       But you've heard a lot about
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 56 of 135
                            Closing Argument by Mr. Stirba                       56


     1    them and you've heard a lot about them just in the summation

     2    presented by Government counsel.

     3                Here's another red herring:      The crates having Chinese

     4    markings.    Now, you realize the first witness -- the first

     5    witness the Government puts on the stand is Special Agent

     6    Mentavlos.

     7                You realize I had him demonstrate -- "Here are the

     8    crates, right here."      I went right up there to the witness

     9    stand and asked him, "Look at the crates.         Do you see any

    10    Chinese markings on those crates?"

    11                He said, "No."

    12                He also testified that, when he was there, he didn't

    13    see any crates with Chinese markings on them, because the

    14    crates don't have Chinese markings on them, period.

    15                So the fact that we're talking about them and the

    16    Government insists that that's an important fact, you realize,

    17    is a red herring.

    18                You also realize there's no testimony in this trial,

    19    none, none, zero, that somehow these crates were ever sanded,

    20    somehow these crates were ever obliterated, somehow these

    21    crates were ever painted, somehow any of that ever happened.

    22    It didn't happen.     The testimony has been clear.       None of that

    23    happened.

    24                And I'll tell you why shortly that didn't happen.         But

    25    the fact of the matter is that we're still talking about it.            A
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 57 of 135
                            Closing Argument by Mr. Stirba                       57


     1    fact of no significance, no meaning, to this case because it

     2    didn't happen is an example of a Government red herring.

     3               The other thing is the Government talks about the

     4    tins.   They keep on talking about the tins, the tins are

     5    important because they had to take it out of the tins because

     6    there were Chinese markings on the tins and there's paper on

     7    the tins and somehow that meant something.          You realize that's

     8    another red herring.

     9               If you could put up, Eric, the Walck statement on the

    10    25th of April.

    11               THE COURT:    Can you identify the exhibits, please, for

    12    the record.

    13               MR. STIRBA:    Right there.    EM 138.

    14               Now, in that, this is what Ronald Walck says on the

    15    25th of April.     "Now that we have an accurate assessment of

    16    what shipping will actually be from Tirana (about a 30 percent

    17    increase), we need to look at ways to reduce our overall

    18    costs."

    19               And if you could look at what Walck -- this is what he

    20    says in response to Mr. Packouz:        "The ammunition in the

    21    pictures looks good" -- these are pictures where they're in

    22    cardboard containers, Saran-wrapped, loose ammo -- "I don't

    23    think there will be any problems with the cardboard boxes.            If

    24    you band them to the pallets, they should be fine."

    25               In other words, as of the 25th of April, ladies and
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 58 of 135
                            Closing Argument by Mr. Stirba                       58


     1    gentlemen, that's the way the Army is accepting them be

     2    shipped.    Crates, tins, are not going to be part of this

     3    process.    So to talk about them is, once again, a red herring.

     4               Now, what I'd like to do is review some facts with you

     5    and talk about a timeline because I think it's important.

     6               One of the things that I think is important in this

     7    case is, really, you can decide this case looking at it from

     8    April of 2007 through the end of June of 2007.          Those are the

     9    most important facts in this case.

    10               The problem, ladies and gentlemen, is that the

    11    Government -- and they've told you this now twice.          They want

    12    to say the unlawful agreement started as of April 23 or

    13    thereabouts of 2007, when, finally, they determined that the

    14    Albanians were sourcing ammo that was Chinese in origin.

    15               Remember, that's all they're doing.        There is no

    16    agreement, none whatsoever, with anybody that they're going to

    17    buy or ship Chinese ammunition in April.         There's no agreement

    18    with anybody that it's going to be repacked in April.           There's

    19    no agreement whatsoever.

    20               All you have is somebody saying that Albania is

    21    offering now Chinese ammunition in lieu of Albania.           And nobody

    22    knew that at the time until Mr. Podrizki went there in -- the

    23    20th or thereabouts of April.

    24               The contract is awarded on the 26th of January, 2007.

    25               And you'll see, ladies and gentlemen, that those are
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 59 of 135
                            Closing Argument by Mr. Stirba                       59


     1    the relevant time periods that I think decide this case as to

     2    whether or not Mr. Merrill ever joined in any unlawful

     3    agreement to do anything.

     4               And, remember, there was never an agreement in April.

     5    And when I say "agreement," between AEY and any supplier with

     6    respect to anything.      There wasn't an agreement in May with

     7    respect to AEY and any supplier.

     8               There were agreements, though, that started in June.

     9    And you may recall the testimony of Special Agent Mentavlos,

    10    just to put some context to it.

    11               There were no shipments of any kind, much less

    12    Chinese-origin ammo, in April.       There were no shipments of

    13    Chinese-origin ammo in May.       And, actually, as alleged in the

    14    indictment, the first shipment started on June 21st of 2007.

    15               First thing, Eric, if you could put up -- this is an

    16    e-mail April 6 of 2007, EM 83.

    17               Now, the reason why this is important -- this is

    18    Mr. Merrill indicating well before anybody knows that it's

    19    Chinese in origin that, in fact, the crates are going to be

    20    removed.    It has nothing to do with being Chinese.        It has

    21    everything to do with weight.

    22               "Now that we have an accurate assessment of what the

    23    shipping will actually be from Tirana (about 30 percent

    24    increase), we need to look at ways to reduce our overall

    25    costs."
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 60 of 135
                            Closing Argument by Mr. Stirba                       60


     1                Next slide, please.

     2                THE COURT:    You have an hour remaining.

     3                MR. STIRBA:   Thank you.

     4                Now, this is an additional statement that he makes in

     5    the e-mail:    "This could be done by discarding the wood crates

     6    and shipping only the hermetically sealed tins."

     7                Let's go to the next date, Eric, please.

     8                The 20th.    Why is that significant?     Podrizki sends

     9    the photographs.     Now, remember, there's no text on those

    10    photographs.    You'll see them when you're back in the jury

    11    room.

    12                Mr. Merrill told you he got these photographs.         He

    13    didn't know precisely what they meant because there was no text

    14    indicating anything.      But he thought he would then get some

    15    further information from Mr. Diveroli.         And, in fact, he did,

    16    on the 23rd of April.

    17                Now, Mr. Diveroli calls Mr. Merrill.       It's an

    18    important conversation.      What does Mr. Diveroli tell

    19    Mr. Merrill?    Well, he tells him three things.        This is from

    20    Mr. Merrill's testimony.

    21                First, he tells him that the Albanians are trying to

    22    source this contract with Chinese-origin ammunition.           He tells

    23    him that.

    24                He also tells him that he doesn't think that that will

    25    necessarily be a problem because he's hired lawyers who are
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 61 of 135
                            Closing Argument by Mr. Stirba                       61


     1    going to look at the precise question -- it's a contract

     2    problem.     It's nothing else.    It's a contract problem -- and

     3    whether or not the contract precludes sourcing this with

     4    Chinese-origin ammo.

     5               And, remember, ladies and gentlemen -- you know this.

     6    You've seen it a zillion times, essentially, up on the screen.

     7    We have two provisions in the same contract, same contract.

     8    Kim Jones said it's part of the contract.         Melanie Johnson said

     9    it's part of the contract.

    10               One says in response to the question, "Could we source

    11    this?   Could we source this with ammunition essentially from

    12    China?" -- and there's an answer.        The answer isn't a flat

    13    "no."   The answer isn't an "absolutely not."

    14               The answer is, "Well, the contract really doesn't

    15    specify what source you should get it from."         And then it goes

    16    on to say:    But you need to check certain regulations and

    17    statutes and what have you and the burden is on the contractor

    18    to make sure that's right.

    19               And that's from China, not a Communist Chinese

    20    military company.     That's one provision.

    21               Then we have the other provision, which is a

    22    prohibition of the acquisition of certain munitions from a

    23    Communist Chinese military company.        Not China.    Communist

    24    Chinese military company.

    25               Now, in that one, it clearly says that there is a
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 62 of 135
                            Closing Argument by Mr. Stirba                       62


     1    prohibition; that is, you would violate the contract if you

     2    actually provided munitions from a Communist Chinese military

     3    company.

     4               So there is an ambiguity.      It's not clear.     And it's

     5    something that the contract is not exactly meshed in terms of

     6    the meanings between the one versus the other and how it all

     7    works.    That's what the legal issue was.

     8               The second thing that Mr. Diveroli tells Mr. Merrill

     9    in that conversation is the fact that -- he asked about whether

    10    or not Mr. Merrill would know how somehow certain tools can be

    11    used to scrape things or clean things off of these crates.

    12               Because he tells Mr. Merrill that the Albanians are

    13    concerned that, if they leave these crates out in an unsecured

    14    area on the tarmac of that airport -- and you've seen the

    15    photographs.    You see the nature of it.

    16               This is not the normal kind of circumstance where it's

    17    a secure facility, and they're concerned about markings on the

    18    crates and whether there might be some problems in terms of

    19    somebody presumably either taking the crates, stealing the

    20    ammo, what have you.

    21               Now, remember, that's what Mr. Diveroli tells

    22    Mr. Merrill.    Mr. Merrill isn't there.       Mr. Merrill doesn't

    23    know.    Mr. Merrill is just saying, "Okay.       Yeah.   I think I

    24    know how to do it."

    25               And he explains why Diveroli would ask him that,
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 63 of 135
                            Closing Argument by Mr. Stirba                       63


     1    because Merrill has, obviously, Vector Arms.         They have these

     2    things all the time.      They have crates, which you've seen.

     3               And as he testified, many of the munitions they get in

     4    that -- at the time period were in crates that said "Made in

     5    China."   Diveroli knew that.      Diveroli didn't have a clue.

     6    Merrill did.    He asked the question.

     7               But I submit, ladies and gentlemen, that just like

     8    Diveroli essentially lies to Packouz -- because, remember, he

     9    cheated him and Packouz even said he's the most dishonest

    10    businessman that he's ever known.

    11               Just like he lied to Black.       Because, remember, Black

    12    felt so bad about the relationship that he essentially stole

    13    $10,000 from AEY because Diveroli had cheated him.

    14               And just like Diveroli lied to Mr. Merrill about

    15    Danny, which even Packouz admitted was a lie.          Of course,

    16    Packouz doesn't tell the person he's supposedly talking to this

    17    whole time that Danny's fictitious, that Danny doesn't exist,

    18    that Danny isn't a new investor and that, really, this is an

    19    attempt to chisel Mr. Merrill out of the relationship.

    20               Mr. Diveroli lies to Mr. Merrill again on the 23rd,

    21    when he tells him that the Albanians are concerned about

    22    security at the airport such that they want something that they

    23    could use to take markings off the crates.

    24               And the reason why he did that is because, if he had

    25    told Mr. Merrill what he really was thinking, that is, removing
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 64 of 135
                            Closing Argument by Mr. Stirba                       64


     1    Chinese markings from any of the crates -- and, remember, there

     2    are no Chinese markings -- Mr. Merrill obviously would have

     3    said what he said back in September, later on when he found

     4    out, "I am out of this contract.        I'm not going to participate.

     5    I withdraw, period."

     6               Because, remember, at this point, at this point,

     7    Mr. Merrill is an important financial source to AEY.           There is

     8    no Wells Fargo factoring.      There is no other financing.

     9    Mr. Merrill is paying all these suppliers for the ammo for

    10    other -- for this contract and others.

    11               He needs Mr. Merrill.      If he loses Mr. Merrill now, he

    12    has no ability to make up the financing and no ability to buy

    13    the ammo to fulfill the contract.

    14               So he tells that story to Mr. Merrill.         Mr. Merrill

    15    doesn't really question it.       And Mr. Merrill then, on the 25th,

    16    sends the cleaning tools e-mail.

    17               Now, it does say "To Whom It May Concern."         Do you

    18    realize -- and that's what Mr. Merrill said.         Because he asked

    19    Mr. Diveroli, "Well, do you want me to send this directly to

    20    Albania or directly to Mr. Pinari?"

    21               And Mr. Diveroli said, "No.       No.   Why don't you

    22    just -- I'll use it.      And so why don't you just make it 'To

    23    Whom It May Concern.'"

    24               You realize he knew how to send e-mails to

    25    Mr. Diveroli.    Mr. Merrill sent -- you'll see them.         There are
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 65 of 135
                            Closing Argument by Mr. Stirba                       65


     1    dozens of them.       He knew how to address something to

     2    Mr. Packouz.       There are those e-mails, too.

     3                This is the only e-mail, the only e-mail, in the

     4    evidence that says "To Whom It May Concern."         And I'd submit

     5    the reason why it's the only e-mail that says "To Whom It May

     6    Concern" is because it's totally consistent with what

     7    Mr. Merrill told you, that that's the way Mr. Diveroli wanted

     8    it and he used it only if he had to.

     9                Anyway -- but before that -- and I refer back to the

    10    red herring nature of this e-mail -- do you realize that, on

    11    that very same day, on the 25th, Major Walck sends an e-mail to

    12    Mr. Packouz and says, "You can just pack all this ammo in

    13    cardboard containers, loosely packed, without the tins and

    14    without any crates"?       So that's why this is a distraction from

    15    the case.

    16                Now, next one.     This is on the 28th of April.      It's an

    17    important e-mail.      Okay.   This is something that Mr. Merrill

    18    sends to Mr. Diveroli.

    19                What is important about it?      As I said, there is no

    20    agreement, ladies and gentlemen.        There is no contract.     There

    21    is no understanding.       There is no nothing between AEY, MEICO,

    22    Evdin, anybody to do anything about anything.

    23                Why?    Here's what the problem was.     Packouz testified

    24    to it.   Mr. Merrill testified to it.       And the e-mails show it.

    25    AEY was fully expecting Albanian ammo.         Albanian ammo, though,
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 66 of 135
                            Closing Argument by Mr. Stirba                       66


     1    was expensive to ship in wood crates.        Albanian ammo was

     2    expensive to ship in tins.       And they wanted the Albanians to go

     3    and do that repacking.      And that was going to cost some money.

     4               And the Albanians were saying, "We're not going to do

     5    that.   We are not going to pay for that cost and we're not

     6    going to repack."

     7               So, basically, you had a situation as of this e-mail

     8    where Albanians were not going to repack and AEY wasn't going

     9    to go through the expense and the cost of buying Albanian ammo

    10    that wasn't repacked.      It was a problem.     Thus, this e-mail

    11    and, thus, this calculation.

    12               If you could go to the next slide, please.

    13               Now, read that, ladies and gentlemen.        That's

    14    Mr. Merrill's e-mail as of the 28th of April.          He's not talking

    15    about, "Yes.    We're going to ship Chinese-origin ammo" or he's

    16    not saying, "We're going to provide the contract with

    17    Chinese-origin ammo."

    18               In fact, as he testified -- and it's on the face of

    19    the document -- and you wouldn't crate this just to crate it --

    20    he's testified that what he's showing is, "We can sensibly

    21    afford to fulfill the contract with Albanian ammo if, if, we

    22    remove the crates and remove the tins."         And he does a

    23    calculation.

    24               And that calculation comes up where he says, "Albania,

    25    without crates and tins, but with cardboard" -- that's the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 67 of 135
                            Closing Argument by Mr. Stirba                       67


     1    cardboard packaging that's already been approved by the Army --

     2    "cost avoided."     He has a figure there -- and this, once again,

     3    is projected over all the flights -- of $1,138,500.

     4               Now, if there was an agreement to somehow ship

     5    Chinese-origin ammo and if there was some understanding that

     6    that was going to occur, I'd submit, ladies and gentlemen, that

     7    e-mail wouldn't have been sent.

     8               That's totally inconsistent with any agreement.

     9    Mr. Merrill's talking about Albanian ammo.         Mr. Merrill's

    10    talking about repackaged Albanian ammo.         Mr. Merrill is talking

    11    about , "We can do this.      This is how we have to do it."

    12    That's on the 28th of April, 2007.

    13               Next slide, please.

    14               Okay.   On the 29th, we have Mr. Diveroli sending

    15    another e-mail.     It's EM 157.    This is what he says on the

    16    29th.   Supposedly, this is six days after the conspiracy starts

    17    to send the concealed Chinese ammo.

    18               This is what Mr. Diveroli is saying in that e-mail,

    19    consistent with the e-mail that he received the day before from

    20    Mr. Merrill:    "AEY was never aware of or accepted Chinese

    21    ammunition" -- undisputed, absolutely true, they never knew --

    22    "for the delivery US Government contracts, and we will only

    23    accept the loose-packed ammunition in cardboard boxes in lieu

    24    of the Chinese," in lieu of the Chinese.

    25               In other words, "We'll take Albanian and we'll take it
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 68 of 135
                            Closing Argument by Mr. Stirba                       68


     1    in these cardboard boxes, but we are not taking the Chinese.

     2    That's what we're taking instead of the Chinese."          That's

     3    Diveroli to Evdin on the 29th of April.

     4                And he goes on to say, "If this cannot be accomplished

     5    immediately, please inform immediately."

     6                And then the next phraseology:      "We have no room in

     7    our contract to ship $1 million worth of lumber to

     8    Afghanistan."

     9                I asked Mr. Merrill -- I said, "Mr. Merrill, at this

    10    point, was there any agreement?

    11                "None.

    12                "Did you have any agreement for repacking?

    13                "None:

    14                "Did you have any agreement to buy any ammo from

    15    anybody?

    16                "No."

    17                They're negotiating.     There's nothing going on here

    18    other than right now Mr. Diveroli is saying to the broker,

    19    Evdin, "This is what we're going to do.         Albanian repacked, not

    20    Chinese."

    21                Next slide, please.

    22                May 15th.   Now, that particular e-mail is important

    23    for this reason.     There was testimony to the effect that,

    24    "Well, we had to go and we had to somehow source this contract

    25    from Albania."
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 69 of 135
                            Closing Argument by Mr. Stirba                       69


     1               Well, there are other alternatives.        You heard

     2    Mr. Merrill tell you there are alternatives in Bulgaria, there

     3    are alternatives in Czechoslovakia, the Czech Republic and

     4    there are alternatives in Hungary.

     5               That particular e-mail, written by Mr. Packouz -- this

     6    is on the 15th of May -- he says down below, "The Hungarian

     7    Army is in the process of releasing more ammunition from stock

     8    at the same price in order to supply the total quantity of

     9    ammunition" -- the total quantity of ammunition -- "for our

    10    contract."

    11               Now, what's important about that?        There are

    12    alternatives.    They're not locked into Albania.        Mr. Merrill

    13    knows that.     Mr. Merrill is aware of the other sources that are

    14    being pursued.     And this one was in Hungary, that they could

    15    provide ammunition for the entire contract.

    16               Now, you know, the Government makes a big point about

    17    Evdin, that somehow we have to do this deal with Evdin and it

    18    has to be done in Albania and it has to be for Chinese

    19    ammunition.     Not true.    None of it's true.

    20               First of all, first of all, you heard the testimony.

    21    What is Evdin?     He's a broker.    Could he broker that deal?

    22    Yes.   Could he broker Ukraine?      Yes.   Could he broker

    23    Czechoslovakia?     Yes.    All those things could be done.

    24               That's what he's -- that's what he does.         It doesn't

    25    have to be out of -- out of Albania.        It doesn't have to be
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 70 of 135
                            Closing Argument by Mr. Stirba                       70


     1    Chinese.    There are other alternatives, other sources.

     2               Now, the second point is -- let's talk about the

     3    argument that somehow there was pressure, that they had to do

     4    something because this was late.

     5               Do you realize -- Eric, could you put up the contract

     6    provisions, please.     If you can't, I'll go back to it.        The

     7    task order dates.      Yeah.

     8               There are two provisions in the contract.         You'll have

     9    the contract, Exhibit 1.       They both say that the task orders

    10    need to be fulfilled.

    11               This one says, "The awardee will be required to

    12    deliver in three to six months from receipt of the task order.

    13    Task order will be issued on a quarterly basis in accordance

    14    with the required ammunition needed at that particular time."

    15               Next one.

    16               "Delivery of the item shall be required within three

    17    to six months from award of each task order."

    18               Ladies and gentlemen, there was no indication from the

    19    Government -- in fact, you might have heard -- I think it was

    20    Kim Jones who said this -- there was no letter, there's no

    21    e-mail, there's nothing in evidence where the Government is

    22    saying to AEY, "Somehow you need to ship and, if you don't

    23    ship, we're going to cancel the contract."

    24               In fact, if you look at Task Order No. 2 closely, even

    25    assuming that that contract provision -- this is a contract,
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 71 of 135
                            Closing Argument by Mr. Stirba                       71


     1    ladies and gentlemen -- that that contract provision somehow

     2    doesn't apply -- and I respectfully suggest it absolutely does

     3    apply; so, there's nothing late about AEY -- in the Task Order

     4    No. 2, you have dates that run all the way through August of

     5    2007 to fully comply with that task order.

     6                That was not the pressure and that was not the concern

     7    and there wasn't any immanency that somehow the contract was

     8    going to be canceled.

     9                The problem was they obviously wanted to fulfill the

    10    contract order.     They obviously wanted to get paid, and the

    11    only way they were going to get paid, obviously, is if they

    12    fulfilled the order.      So they have to find the ammo and they

    13    have to source the contract.       That was the problem.

    14                If we could go back to the timeline.

    15                Okay.   May 16.   Now, this is the circumvention e-mail

    16    that you've seen.     The Government wants to say it's all about

    17    leveraging a better price.

    18                Do you realize what that e-mail's all about?        If you

    19    read it -- read it in its entirety.        It's not just one

    20    sentence.    It's not two sentences.      It's many sentences.

    21                But it's all about telling the broker, Evdin, "We're

    22    not going to go around you.       So if we have to get out of

    23    Albania because Albania is providing us with Chinese ammo,

    24    we're going to still stay with you."        And that's what

    25    "circumvention" means.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 72 of 135
                            Closing Argument by Mr. Stirba                       72


     1                And look at what is said in that e-mail, as dictated

     2    to Mr. Merrill by Mr. Diveroli.       Once again, ladies and

     3    gentlemen, there's no agreement to buy anything.          There's no

     4    contract to buy anything.      There's no agreement to repack

     5    anything.    Nothing has happened.      They're negotiating.

     6                His plan -- that is, Diveroli's plan -- is not to

     7    circumvent -- that is, go around Evdin -- but to discontinue

     8    purchasing from Albania.

     9                I don't think you can be any more clear than that,

    10    that he is going to walk away from Albania and source this

    11    contract in some other way with some other country at that

    12    point, May 16 of 2007.

    13                Next provision.

    14                "In any case, I can assure you at this point that

    15    Efraim will not circumvent Evdin" -- once again, go around

    16    Evdin, somehow broker this in some other way, somehow get

    17    somebody else involved -- "but he will probably walk away from

    18    Albania," go to Hungary, go to the Ukraine, go to the Czech

    19    Republic.

    20                Next slide, please.

    21                And, finally, "...and are looking for a way out of

    22    this pit as soon as possible.       We had to deliver something

    23    until we could get EUCs" -- those are end user certificates --

    24    "from other counties."      And I think Mr. Merrill said that meant

    25    "countries."
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 73 of 135
                            Closing Argument by Mr. Stirba                       73


     1                In other words, "We're going to go someplace else.         If

     2    this is the way the Albanians are going to treat us, if the

     3    Albanians are going to insist that we have to take

     4    Chinese-origin ammo, we're going elsewhere, because we know

     5    that Chinese-origin ammo is a problem."

     6                This is Mr. Diveroli on May 16th of 2007.        The

     7    Government says April 23rd, April 20th, unlawful agreement

     8    happened, conspiracy to do all this kind of stuff.

     9                Totally inconsistent with that, just like the 28th

    10    e-mail was totally inconsistent with that, just like the 29th

    11    e-mail is totally inconsistent with that, just like all of the

    12    behavior is inconsistent with any agreement to do anything,

    13    much less, much less, ship Chinese-origin ammo.

    14                Next slide, please.

    15                Okay.    Interestingly enough, Diveroli travels on

    16    May 22nd -- May 27th to Albania.        There was testimony he met

    17    with who?    He met with Mr. Pinari.      Who's Mr. Pinari?     Pinari,

    18    remember, is the head of the Albanian arms company MEICO.

    19                Mr. Merrill with Mr. Diveroli?      No.   Mr. Merrill ever

    20    in Albania?    No.    Mr. Merrill know anything about anything

    21    about the meeting and what he did in Albania, except with what

    22    Mr. Diveroli told him?      Absolutely not.

    23                So, interestingly enough, after the meetings with

    24    Pinari in Albania and, interestingly enough, after he is over

    25    there and talks to Mr. Pinari, look at what happens.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 74 of 135
                            Closing Argument by Mr. Stirba                       74


     1               May 30, 2007, EM 191, we finally have an agreement,

     2    ladies and gentlemen, with Evdin.        We have a final agreement.

     3    And look at who is on that final agreement.

     4               Could you put the header back up, please.

     5               It's from Evdin to AEY.      And it says, "Evdin contract

     6    final countersigned."      That's an agreement with Evdin to broker

     7    some ammo.    You will not see that e-mail forwarded to

     8    Mr. Merrill.    You will not see Mr. Merrill's name on that

     9    agreement.

    10               Interestingly enough -- and look at the e-mails during

    11    this relevant time period -- all of them -- almost all of them,

    12    they're forwarded to Mr. Merrill or Mr. Merrill is cc'd or

    13    Mr. Merrill is on it.

    14               Interestingly enough, this is the first time we start

    15    having Mr. Merrill not on any e-mails, not forwarded.           And the

    16    reason why is because the deal that Mr. Diveroli cut and the

    17    deal that is memorialized in his contract is a deal finally

    18    where they agree that they're actually going to source this

    19    contract with Chinese-origin ammo.        That's what this agreement

    20    is all about.

    21               Now, there are some signature lines on it.         And look

    22    at who those signature lines are.        For and on behalf of AEY,

    23    President Efraim Diveroli.       Merrill is not on that.      Merrill

    24    didn't sign it.     Diveroli signs it.

    25               And then there's also a signature line -- this is the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 75 of 135
                            Closing Argument by Mr. Stirba                       75


     1    first time you see a contract with any signature lines in this

     2    whole case.    There's another signature line.

     3               Can you highlight that, Eric.

     4               It's on behalf of Evdin.

     5               Maybe you can't.

     6               But, anyway, the point is it's a signed contract.

     7               Next date, please.

     8               Here's another interesting thing.        Diveroli goes to

     9    Albania.    Merrill's not with him.      Diveroli meets with Pinari.

    10    Merrill's not with him.      Merrill doesn't know anything about

    11    this.   I mean, he knows he's in Albania, but he doesn't know

    12    anything about what they talked about.

    13               Look at what happens about a week later.         June 7,

    14    2007, a repackaging agreement with MEICO, the Albanians, to

    15    repack the ammo.     And AEY's going to agree now to pay them.

    16    That's DE 86-2.     You'll see it.

    17               And attached -- it says:      Please find attached the

    18    contract for the repacking of the ammunition.          Per your

    19    agreement with Mr. Diveroli -- that was when he was in

    20    Albania -- the price is the same as our contract with Kosta

    21    with a 10 percent discount.

    22               Attached to that document is the contract.         It's dated

    23    June 7, 2007, signed by Mr. Diveroli and also signed by

    24    Mr. Pinari.

    25               Next entry, please.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 76 of 135
                            Closing Argument by Mr. Stirba                       76


     1               That's the contract, signed.

     2               June 12th e-mail.     If you have any doubt about Evdin

     3    and about what Mr. Diveroli was doing and that Mr. Merrill was

     4    not part of this, here's an e-mail.

     5               And, by the way, the e-mail before on June 7, look at

     6    it.   Mr. Merrill is not on it.      Mr. Merrill is not cc'd on it.

     7    Mr. Merrill is not forwarded it.        Once again, unusual behavior

     8    now, considering what has gone on before.

     9               June 12, 2007.     This is to Evdin from Mr. Packouz,

    10    "Per your agreement with Efraim, all ammunition was purchased

    11    at 37 cents per round."

    12               Once again, look at the header.       From:    AEY.   To:

    13    Evelyn.   Cc'd:    Efraim.   Mr. Merrill is not on it.      Mr. Merrill

    14    is not cc'd.    From Merrill is not forwarded.

    15               Next one, please.

    16               June 20:    "Request to begin repackaging for shipment."

    17               If you could, put that up, please.

    18               Now, why is this important, DE 86-5?        The next day --

    19    the very next day, Mentavlos testified, and the allegations are

    20    in the indictment that the first shipment was made of

    21    Chinese-origin ammo.

    22               "Please start repacking of this ammunition so we can

    23    start shipping as soon as possible."

    24               Look who's on that e-mail.       Not Merrill.

    25               Now, the reason why Merrill is not on it and the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 77 of 135
                            Closing Argument by Mr. Stirba                       77


     1    reason why Merrill is not on the other ones and the reason why

     2    Merrill doesn't know anything about this is because -- guess

     3    what? -- the deal has been cut.

     4               Diveroli, Podrizki and Packouz now know they have a

     5    deal to repack.     What are they going to repack?       Chinese-origin

     6    ammo.   What are they going to ship?       Chinese-origin ammo.      They

     7    know that.    Merrill doesn't know that.

     8               Merrill is still back in the April 29th -- 28th time

     9    period or the May 16th time period.        He's thinking, "What we're

    10    going to do is we're going to send Albanian ammo and the

    11    Albania ammo is going to be repacked and that's going to be

    12    economically just fine."      That's where Merrill is.

    13               Merrill's not involved in this at all.         He doesn't

    14    know anything about this.      In fact, as he testified, he doesn't

    15    even know that any Chinese-origin ammo was even shipped until

    16    Diveroli finally tells him in September of 2007.

    17               Remember, he gets the call.

    18               Diveroli says, "I've been raided."

    19               Mr. Merrill says, "Well, what's it all about?"

    20               Diveroli says, "Well, I got a lunch of lawyers.          I

    21    don't really know."

    22               He gets back with him about two weeks later on the

    23    telephone.

    24               And then he says, "Well, there was an issue of my

    25    licensing.    Oh, by the way, Mr. Merrill, we shipped
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 78 of 135
                            Closing Argument by Mr. Stirba                       78


     1    Chinese-origin ammo."

     2               That's the problem.     The Government knew that then

     3    because it interviewed Packouz on the 30th of August and he

     4    told them that.     The Government finally knew.       So now his

     5    lawyers knew and now Diveroli knows.        That's the problem.

     6               Does Merrill know?     Absolutely not.

     7               Now, how do we know that?      It's corroborated.      You

     8    even heard Perez testify that Mr. Merrill in the interview --

     9    he said to the assistant United States attorney, James Koukios,

    10    "You know, I don't know how they concealed it."

    11               And he admitted that that question was asked by

    12    Mr. Merrill to the United States Government prosecutor in the

    13    interview room.

    14               And what did the prosecutor say?        The prosecutor says

    15    to Mr. Merrill in that interview, "Well, I can tell you how

    16    they did it."

    17               Now, does that sound like somebody who's in the

    18    process of confessing?      Is that what you expect a prosecute to

    19    respond to somebody who's the subject and has just confessed to

    20    a crime?    Absolutely not.

    21               Because remember what Perez also said in response to

    22    my questions.    "Yes.    Mr. Merrill did say at one point he found

    23    out that the Chinese ammunition had been shipped in August or

    24    thereabouts of 2007.      That's the first he became aware of it."

    25               He also told Mr. Perez that the first time he became
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 79 of 135
                            Closing Argument by Mr. Stirba                       79


     1    aware that there's actually Chinese-origin ammo was, sure, in

     2    April of 2007.

     3               That's what Perez said.      That's what he said

     4    Mr. Merrill said in the interview.

     5               So what does Mr. Merrill know during this time period?

     6    Well, Mr. Merrill knows that the Government is paying, there

     7    are payments being made, the Government is accepting the ammo.

     8    He knows that because payments are being made.          That's all he

     9    knows.   He has no idea that now what is being shipped is

    10    Chinese in origin.

    11               So I think, ladies and gentlemen, what this

    12    illustrates is very simple.       The Government's talking about an

    13    agreement which was nonexistent.        Nothing occurred.     Nothing

    14    was shipped.    Nothing was agreed to.      Nothing happened during a

    15    period of time in April of 2007.        That's when they say it all

    16    started.

    17               Well, it really, ladies and gentlemen, all started in

    18    June after Diveroli comes back from Albania and, as those dates

    19    indicated, when they actually finally had an agreement to

    20    repack and to buy ammo.

    21               It just is there was no Mr. Merrill involved in any of

    22    those agreements, and there's no Mr. Merrill that the evidence

    23    shows had any knowledge of those agreements, and there's no

    24    Mr. Merrill that participated in any of those agreements.

    25               If we could go to the slide dealing with the contract
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 80 of 135
                            Closing Argument by Mr. Stirba                       80


     1    provisions relating to the authorization and who can respond to

     2    this contract.

     3                Let me set it up this way, ladies and gentlemen:           The

     4    Government wants to say, you know, as of April 23rd, there's a

     5    series of e-mails sent -- you've seen them -- to the State

     6    Department.    AEY knows at that point somehow you cannot do

     7    this, somehow it's in violation of the contract.

     8                Well, aside from the fact that it wasn't an import or

     9    an export -- and I think everybody can see it wasn't an import

    10    or an export -- there was no -- as Mr. Merrill said, you should

    11    have gone to the contracting people if you had a contract

    12    question.    If there was a problem with the contract, go to

    13    them.

    14                Now, this is right in the contract.       In the contract

    15    in question, these provisions are right in there.

    16                First one.

    17                "POC" stands for "point of contact."

    18                "Point of contact for this solicitation is Mr. Ryan

    19    Larrison.    If you have any questions, Mr. Larrison can be

    20    reached at" and then it gives a phone number and an e-mail.

    21                Next one, please.

    22                "Authority of Government representative."        This is

    23    what Mr. Merrill was talking about.        If you have a question on

    24    the contract in terms of whether or not this is an appropriate

    25    situation, you go to the people on the contract.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 81 of 135
                            Closing Argument by Mr. Stirba                       81


     1               "The contractor is advised that contract changes, such

     2    as engineering changes, will be authorized only by the

     3    contracting officer or his representative in accordance with

     4    the terms of the contract."

     5               "No other Government representative" -- including the

     6    State Department, including the State Department -- "No other

     7    Government representative, whether in the act of technical

     8    supervision or administration, is authorized to make any

     9    commitment to the contractor or to instruct the contractor to

    10    perform or terminate any work or to incur any obligation."

    11               So when we talk about the State Department and we talk

    12    about whether or not the State Department meant anything

    13    because they want to the import/export people, well, the

    14    contract itself says that's who you go to if you have a

    15    contract question.

    16               That's what this was.      Remember, ladies and gentlemen,

    17    this is a contract issue.      This is a contract interpretation

    18    issue.   I know the Government wants to criminalize a contract

    19    interpretation problem.

    20               MR. TAMEN:    Judge, I'm going to have to object to

    21    this.

    22               MR. STIRBA:    It's --

    23               MR. TAMEN:    It's very clear what the law is.       This is

    24    not a contract dispute.

    25               THE COURT:    Sustained.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 82 of 135
                            Closing Argument by Mr. Stirba                       82


     1                MR. STIRBA:   Yeah, it is.

     2                MR. TAMEN:    And I'd ask for a curative instruction.

     3                THE COURT:    Sustained.

     4                MR. STIRBA:   Anyway, that's what we have here.        It's a

     5    contract.

     6                MR. TAMEN:    Objection.

     7                MR. STIRBA:   And here's the evidence on whether or not

     8    it was acquired from a Communist Chinese military company.

     9                Remember, I told you, I told you, this contract was

    10    performed.    If it was not from a Communist Chinese military

    11    company, this contract was fully performed.

    12                What's the evidence that it was from a Communist

    13    Chinese military company?      Well, the best you have, ladies and

    14    gentlemen, is Dr. Chueng.

    15                What did Dr. Chueng tell you?         He says, first of all,

    16    in the '60s, there were no Chinese companies in existence.             He

    17    said that.    That's what he told you.

    18                Second of all, he said that China is not the same

    19    thing as a Communist Chinese military company.           He told you

    20    that.

    21                You also know that Mr. Mentavlos -- he testified to

    22    it.   Mr. Packouz testified to it.       Mr. Merrill testified to it.

    23    Where did this ammo come from?         Albania.

    24                Nobody said it came from a Communist Chinese military

    25    company, except the sort of contorted and convoluted way that
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 83 of 135
                            Closing Argument by Mr. Stirba                       83


     1    Dr. Chueng gets there, because Dr. Chueng wants you to believe

     2    that somehow a factory, a factory, in 1965, 1967, whatever the

     3    case may be, in the '60s, in China is a Communist Chinese

     4    military company.     That was his testimony.

     5               Well, that's ridiculous.      It's ridiculous on its face,

     6    especially when you know that what he said is no companies

     7    existed in China at that time.

     8               Moreover, he said the only time companies started in

     9    China was in the early '80s.       Well, Congress and this contract

    10    was in 2006 and 2007.      I think they know what the word

    11    "company" means.     I think they know the situation in China.

    12               And, in fact, as Dr. Chueng admitted, if you read it

    13    closely -- but it's important.       It's important.     It doesn't say

    14    "a Communist Chinese military company was."         It says "a

    15    Communist Chinese military company is," present tense, meaning

    16    that -- what are we talking about, trying to say that

    17    Albanian-donated -- or Chinese-donated ammunition coming out of

    18    a factory in the People's Republic of China in the late '60s is

    19    somehow now an acquisition from a Communist Chinese military

    20    company?

    21               And you realize Mr. Merrill -- he's not a lawyer.          You

    22    know, these guys are not lawyers.        They don't have a legal

    23    opinion.

    24               But if -- sitting here -- you know, just like what

    25    Mentavlos said and what everybody else said, it came from
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 84 of 135
                            Closing Argument by Mr. Stirba                       84


     1    Albania.     They bought it from MEICO.     They bought it from the

     2    Albanian Government.      That's what they were thinking.

     3                That's what he was thinking.      That's what he told you.

     4    He thought, "Well, if there's a contract problem, it'll be

     5    resolved."

     6                What did Diveroli say?     "I'll get a lawyer."     It makes

     7    sense.   Right?    You've got a problem, you get a lawyer.        He

     8    gets a lawyer.     He tells Merrill -- maybe he lies to Merrill.

     9    Merrill doesn't know that.

    10                But Merrill's thinking, "Okay.      That makes sense.       Get

    11    a lawyer.    Get a legal opinion.     Let's figure out what the deal

    12    is."

    13                And he already had some experience with waivers.           He

    14    had some experience with other exemptions.         He said, "Maybe

    15    they'll find that."

    16                And Diveroli then says, "Yeah, they did."

    17                Merrill's none the wiser.     It's not his contract.

    18    It's AEY's contract.

    19                But certainly, if you have a contract problem -- and

    20    we've already talked about you've got one provision that says

    21    it's okay or may be okay from China and you've got another

    22    provision that says but you can't get it from a Communist

    23    Chinese military company.      I'm sorry.    I would think that a

    24    lawyer would be the kind of person you might just go to to work

    25    out that problem.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 85 of 135
                            Closing Argument by Mr. Stirba                       85


     1                That's what Diveroli told Merrill.       That's what

     2    Merrill believed.     And that's -- Merrill was reasonably

     3    entitled to rely on that.      Why?

     4                Because, remember, ladies and gentlemen, Merrill --

     5    he's got five contracts with this guy that worked until this

     6    one.   He had no reason to disbelieve him.        He had no reason to

     7    think that somehow Diveroli was -- now all of a sudden turned

     8    to be an untrustworthy person.

     9                But, you know, who knows?     Diveroli's on coke.

    10    Diveroli's on pot.     Who knows what's going on with Diveroli at

    11    the time.    And maybe that wasn't what was going on in those

    12    five contracts before, but Merrill is not the wiser.

    13                You can't convict him because he's careless.         You

    14    can't convict him because he's naive.        You can't convict him

    15    because maybe you think he's a little stupid.          No.

    16                You have to convict him because you think he

    17    specifically intended to defraud the United States Government.

    18    But he didn't, and the proof doesn't show that.          And,

    19    basically, if you're careless, stupid and naive, it's called

    20    good faith.

    21                Now, let's talk about other things about Diveroli.

    22    It's just like he said about that one e-mail that counsel has

    23    already referred to, which, as I say, is irrelevant.            But I'll

    24    talk about it because it's important.

    25                The Government doesn't show you the e-mail that's most
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 86 of 135
                            Closing Argument by Mr. Stirba                       86


     1    important.    Remember what happened?      They show you the first

     2    e-mail going to AEY, basically, from Merrill, saying, "Answer

     3    these questions."     You'll -- you can see it back in the jury

     4    room.   "Answer these questions."

     5               Then they want to show you the forwarded e-mail --

     6    that's all they introduced -- which is Merrill to Ms. Porschke

     7    with the Government.

     8               And then on direct of Mr. Merrill in the defense case

     9    in chief, we had to show you they have it, the other e-mail,

    10    which is most important, that is, the e-mail that went from AEY

    11    to Merrill with the answers in it.

    12               Because remember how this worked in the trial?          Once

    13    again, Packouz -- are you kidding me?        You're going to take the

    14    word of that guy for anything?

    15               Here's the way it worked in the trial.

    16               Counsel asked him on direct -- he shows him that

    17    e-mail and he says, "Hey, see that e-mail with the answers?

    18    This is a forwarded one."

    19               This is the one that the Government showed you.

    20               And Packouz says, "Yeah.      Yeah, I do."

    21               And then he says something to the effect, "Those are

    22    the answers that Mr. Merrill provided."

    23               That's what he said on cross.

    24               Remember, we had a little issue about whether we could

    25    use that document or not.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 87 of 135
                            Closing Argument by Mr. Stirba                       87


     1               But, anyway, the e-mail I'm talking about we got into

     2    evidence, which you'll see, which is the critical one.

     3               So, anyway, on cross, I asked him about that.

     4    Remember what he says?

     5               "Oh, well" -- he changes because he knows what's going

     6    to happen.

     7               He says, "Well, those were answers provided by

     8    Diveroli."

     9               Total flip-flop between the direct and the cross.          He

    10    gave a totally different impression.        On direct, it's like,

    11    "Merrill's the liar."      On cross, it's like, "No.      Actually,

    12    Diveroli's the liar."      Thank you.

    13               "Because you have the e-mail.       You're going to catch

    14    me.   You know exactly what's going to happen."

    15               And the e-mail's now in evidence and they didn't tell

    16    you about it.

    17               Just like, remember, they didn't tell you that, when

    18    somebody was identifying Chinese markings -- or apparently

    19    trying to identify Chinese markings, he didn't even speak

    20    Chinese.     He didn't even know what Chinese was.

    21               Now, Merrill has a right to rely on Diveroli because

    22    of the prior experience.      But there's no question:      Diveroli's

    23    a liar.    He lies to everybody.     You've heard the testimony of

    24    Packouz, Black.     You heard about Danny.      You heard about

    25    everything.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 88 of 135
                            Closing Argument by Mr. Stirba                       88


     1               So, you know, Merrill's in a situation where he

     2    doesn't know until he finally confronts Diveroli in September.

     3               And then he says, "Hey, what about that legal opinion,

     4    buddy?"

     5               And that's when Diveroli says, "Well, I don't really

     6    have anything in writing."

     7               And so, obviously, Merrill figures out, "Well, wait a

     8    minute.   You don't have anything in writing?        Are you kidding

     9    me?    And you're telling me now you're shipping Chinese-origin

    10    ammo that I don't know about and I'm investing how much money

    11    in this arrangement and this could be a huge problem?"

    12               What does he do?     Out of here.    He's out $1.3 million,

    13    according to Perez.       He's gone.   "I'm not going to deal with

    14    this, if this is what you're doing."        Why?   Because he finally

    15    figured out Diveroli was not trustworthy anymore because

    16    Diveroli had lied to him.

    17               But, remember, Diveroli hadn't lied to him at least in

    18    the beginning.     Why?    Because he needed Merrill.     Once Wells

    19    Fargo came in, the financing came in, the factoring came in,

    20    all those payments came in -- I asked Packouz -- they didn't

    21    need this guy anymore.      When was that?     May and June of 2007.

    22               At that point, Danny can come into play.         Merrill's

    23    meaningless.    "We don't have to 'cc' him on anything."         He's

    24    out.    Why?   Because they don't need him anymore.       And that's

    25    exactly what happened.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 89 of 135
                            Closing Argument by Mr. Stirba                       89


     1               Now, it's interesting, as you think about this case --

     2    and probably you've had this question -- Mentavlos says, "I

     3    interviewed Packouz on the 30th of August of 2007."           And

     4    Packouz tells me, "We were shipping Chinese-origin ammo."            He

     5    tells you that.

     6               So you say to yourself, "Okay.       If this is such a big

     7    deal, if this is such a violation of the contract -- if this is

     8    such a big deal and it's not a violation of the contract, but

     9    we're going to prosecute somebody for it," you'd think the

    10    Government would go, "Holy moly.        We can't have that happen.

    11    We've got to do something."

    12               You'll see a stipulation.

    13               Can you put that up, Eric, 118.       It's in evidence.

    14               This is a stipulation, ladies and gentlemen.         A

    15    stipulation is an agreement between the parties.          So this is an

    16    agreement between the Government and the defense that these

    17    fact are true and correct.

    18               And you see the recitation at the beginning.         It says,

    19    "The United States and Defendant Ralph Merrill hereby agree and

    20    stipulate that the following facts are true:

    21               One:   On or about the payment dates referenced in the

    22    chart below, the United States Government, through the

    23    Department of the Army, made payments in the dollar amounts

    24    indicated to AEY, Inc., under Contract No. W52 -- whatever --

    25    for items listed on invoices dated on or about the dates
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 90 of 135
                            Closing Argument by Mr. Stirba                       90


     1    indicated and corresponding shipment numbers.

     2               Now -- so that basically is, ladies and gentlemen, the

     3    payments made by the Government for this contract and for what

     4    they were paying for.

     5               After August 30 -- can you show -- the Government paid

     6    all the way through February of 2008 over $30 million on this

     7    contract that the Government's trying to tell you is such a

     8    problem in this case, such that we now have to prosecute

     9    Mr. Merrill for it.

    10               The other thing is do you remember when -- I think it

    11    was Melanie -- yeah.      It was Melanie Johnson.      I confuse

    12    sometimes Kim Jones and Melanie Johnson.

    13               Anyway, one of them talked about -- I guess it was

    14    actually Kim Jones.     I apologize.

    15               One of them talked about the fact that she issued --

    16    she was asked on direct, "Well, at some point, did you issue

    17    some kind of suspension or did something come to your attention

    18    about AEY in this contract?"

    19               She said, "Yeah.     Yeah.   I remember there was a

    20    reported discrepancy."

    21               And she was asked, "What was it about?"

    22               And she said, "Well, it was about packaging.         There

    23    were issues concerning the packaging of the material."

    24               So she issues this order of suspension.         I think she

    25    said it was in March of 2008.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 91 of 135
                            Closing Argument by Mr. Stirba                       91


     1               And then she eventually said, "And the contract then

     2    was terminated in May of 2008."

     3               You realize, ladies and gentlemen, you realize, ladies

     4    and gentlemen, that this was terminated based upon that

     5    suspension, not because the origin of the ammo was Chinese.            It

     6    was because of the cardboard containers and the repackaging.

     7               Now, if this was such -- such a big problem, don't you

     8    think there would have been something there about terminating

     9    the contract because of the origin of the ammo and not because

    10    of the condition of the cartons?

    11               The other thing is, you know, there were issues of

    12    corrosion.    You saw the photograph two days ago about the

    13    corrosion of the ammo.

    14               And in that circumvention concerns e-mail on May 16th,

    15    Mr. Merrill told you what the risks were.         He said, "The risks

    16    were that we were sourcing certain Albanian ammo and we're

    17    finding out that there was some corrosion concerning that

    18    ammo."

    19               And, in fact, in Packouz's e-mail on the 25th of

    20    April, he refers precisely to that problem.

    21               He never said -- by the way, you've now heard it in

    22    one cross-examination question.       You now heard it in summation.

    23    I will let your collective memories control.

    24               But I will tell you my recollection and my

    25    understanding in reviewing his testimony is Packouz never said
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 92 of 135
                            Closing Argument by Mr. Stirba                       92


     1    from that witness stand that somehow the e-mail he sent to

     2    Major Walck on the 25th of April was somehow made up,

     3    fictitious, a cover, what have you.        He never said that.

     4                And if you read it, if you read it, you'll see it's a

     5    very responsible e-mail about a real problem that was existing

     6    with the Albanian ammo; that is, some of it had problems and

     7    the way you address those problems is you open up the tins, you

     8    pull out the ammo, you put the corroded ammo here, you put the

     9    good ammo here, and you ship the good ammo.

    10                That's what was going on.     And you saw photographs

    11    that supported exactly what Merrill said about the corrosion of

    12    the ammo.

    13                Now, I want to talk a little bit about major fraud.

    14    This is -- there are, in fact -- there's a conspiracy count, an

    15    unlawful agreement.     There is a major fraud count -- or series

    16    of them against Mr. Merrill.       There's also wire fraud.

    17                Let me talk about major fraud, the Government's proof.

    18                First of all, you'll be instructed -- very

    19    important -- in the instruction, you'll see an instruction

    20    that'll say, in major fraud, the fraud -- or the material

    21    statements, the falsehoods, have to occur during the

    22    performance of the contract.       That's what we're talking about.

    23    The Government's theory is that the certificates of

    24    conformance, which you have seen, are false.

    25                Now, interesting they say that.      Because remember when
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 93 of 135
                            Closing Argument by Mr. Stirba                       93


     1    Mentavlos was on the stand?       And what it says is on one of

     2    those certificates "Manufacturer" and then, in parentheses, it

     3    says "Origin."     And on all of those certificates of conformance

     4    is "Albania."

     5               And I asked Mentavlos about that.        What did he say?

     6    "It's subject to interpretation.        It could very well be

     7    accurate, correct, that the origin of the ammo was Albania."

     8    That's reasonable doubt, ladies and gentlemen.

     9               Moreover, this is not a document that Merrill had

    10    anything to do with.      Merrill had absolutely nothing to do with

    11    it.   You have heard no witness, no evidence, no e-mail, no

    12    document, no nothing, that Merrill had anything to do with

    13    these certificates of conformance.

    14               They're signed by Diveroli.       Diveroli submits them.

    15    Diveroli made them.     Diveroli created them.      Diveroli did

    16    everything.     Merrill had nothing to do with them.       They don't

    17    even go to Merrill.     He doesn't know anything about them.

    18               So what does this have to do with Merrill?         Absolutely

    19    nothing.    He didn't make any false statements to the Government

    20    about anything, much less with respect to the performance of

    21    this contract.

    22               Second point:    You'll see in the instruction an

    23    essential element is they have to prove in major fraud that

    24    it's done by a contractor, a subcontractor or a supplier.

    25    Merrill's neither.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 94 of 135
                            Closing Argument by Mr. Stirba                       94


     1                There's no evidence that Merrill is the contractor.

     2    AEY is the contractor.      No evidence that Merrill's a

     3    subcontractor.     He didn't supply anything to this contract.

     4    And he's certainly not a supplier.        What did he supply?

     5    Nothing.     He's an investor.

     6                They can't prove that Merrill was one of those three

     7    things; and, therefore, the major fraud counts are all flawed.

     8                Third point -- and, by the way, this little diagram,

     9    which I hope helps, shows you the relationship between the

    10    Department of Defense -- they have the contract -- the prime

    11    contract with AEY.     Then Evdin's the broker or the

    12    subcontractor.     And the supplier is MEICO Albania.       That's the

    13    structure.

    14                Do you see Merrill in there?      You can't put Merrill in

    15    there because he's not a contractor, subcontractor or a

    16    supplier.    And if he's not any of that, you cannot convict him

    17    of Counts, I think, 37 through 71.

    18                Major fraud counts:    The Government hasn't met its

    19    burden.

    20                The third point, even worse for the Government:

    21    Remember there was some testimony about the placards.

    22                If you could put up the -- those are certificates of

    23    conformance.

    24                In each one of those, there's a shipment number on

    25    each one of those certificates of conformance.          The shipment
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 95 of 135
                            Closing Argument by Mr. Stirba                       95


     1    number -- for example, let's just run this through slowly so

     2    you see what I'm talking about.

     3                Shipment number is AEY0006.      That's the shipment

     4    number.   And there are other shipment numbers as you go through

     5    this.   You'll see them.     They're right on the face of document,

     6    and they're on the certificates of conformance.

     7                And then you look at the indictment.       You'll have it

     8    back with you in the jury room.

     9                And the way the Government has pled this -- and it's

    10    actually 37 through 71 -- I apologize -- they have "Count,"

    11    then they have "Defendant," they have an invoice date, a

    12    shipment number, a payment date and then the payment.

    13                So, in other words, the false statement that generates

    14    the payment is all tied, all tied, to a shipment number.

    15    Without a shipment number correlating to the actual ammunition,

    16    you can't really make heads or tails of anything.

    17                The problem is the placard, which you see in front of

    18    you.    That placard has on it a number of different things.          But

    19    it does not have any shipping number.        Look at the placard

    20    photographs.    There's 37 of them.

    21                Look at every single one.     You will not see a shipping

    22    number.   There's no invoice number.       There's no tracking

    23    number.   There's no date of shipment.       There's no date of

    24    delivery.

    25                And so the only way that the Government can prove all
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 96 of 135
                            Closing Argument by Mr. Stirba                       96


     1    of these counts is if they can show somehow here's a pallet,

     2    let's say, of ammo and this is from Shipment No. X and we say

     3    that the certificate of conformance -- when it said that

     4    there's full compliance with the contract -- this is their

     5    allegation -- it's false -- then they can make out maybe an

     6    argument.

     7                But you realize they can't do that because there's no

     8    shipment numbers on any of the placards.         That means you can't

     9    identify any of the ammunition to any shipment made by AEY.

    10                For all we know, for all we know, what was obtained by

    11    the agent and the ammo out of certain pallets all came from

    12    just one shipment.     I mean, there's no question at some point

    13    AEY did, in fact, ship.      That's true.    But that's all you can

    14    say.

    15                You can't say there are actually 36 other shipments

    16    for which the ammunition was in violation of the contract, for

    17    which there was a representation made by Diveroli that was

    18    false, because you have no way to correlate, to compare, the

    19    shipment number to the placard number.         They can't prove the

    20    case.

    21                Now, the real problem, ladies and gentlemen, with this

    22    case is -- and you've heard the testimony -- you know, really,

    23    this is a case that -- really, it's not a righteous

    24    prosecution.

    25                Do you realize the Government got ammo, got ammo?         You
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 97 of 135
                            Closing Argument by Mr. Stirba                       97


     1    heard Mr. Miller say the ammo was essentially in mint

     2    condition, the ammo went to the Afghani security forces, it was

     3    used, it worked, it was serviceable and they got a good price

     4    for it.

     5               And the only person that has lost out -- a party in

     6    this whole deal -- is Mr. Merrill.        He's the one that lost his

     7    investment.    He's the one that wants the refund that Diveroli

     8    won't give him back.      But there's no victim here.      The

     9    Government got exactly what the Government contracted for --

    10               MR. TAMEN:    Objection, your Honor.

    11               MR. STIRBA:    -- except --

    12               MR. TAMEN:    This is misleading under the law.

    13               MR. STIRBA:    It's not misleading under the law.        And

    14    I --

    15               THE COURT:    Sustained.

    16               MR. STIRBA:    -- I object to counsel making these kind

    17    of statements.

    18               THE COURT:    Sustained.    Sustained.

    19               MR. STIRBA:    The Government -- the only issue with the

    20    Government is they want to say that the ammunition, because it

    21    was Chinese in origin, is somehow limited and proscribed and

    22    restricted by the contract.

    23               And the only way you get there, ladies and gentlemen,

    24    is if you say that it was, once again, from a Communist Chinese

    25    military company.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 98 of 135
                            Closing Argument by Mr. Stirba                       98


     1               It was from Albania.      And companies did not exist in

     2    the People's Republic of China, as per their own expert, during

     3    the relevant time period.

     4               Now, I'm about done.      But I do recognize that there's

     5    a lot of e-mails and there's a lot of facts and there's a lot

     6    of contract material.

     7               But, once again, try not to go down the path of what

     8    the Government would like you to do to convict Mr. Merrill of

     9    these red herrings.     Let me give you another one.

    10               Look at Exhibit 3 closely.       Exhibit 3 is actually the

    11    solicitation materials submitted by Mr. Diveroli, not

    12    Mr. Merrill, to the Government.

    13               You won't see in those solicitation materials or those

    14    materials that he submitted to the Government upon which the

    15    Government relied -- you won't see some of these letters that

    16    have been referred to.      You won't see them in that package of

    17    materials.

    18               You will not see other things that you've been told

    19    about that have been indicated somehow Mr. Merrill was not

    20    telling the truth because, actually, Mr. Merrill told you

    21    exactly the truth.

    22               For example, on that one letter that was referenced

    23    and somehow AEY -- it's all about AEY and the history -- he

    24    told you about that.      He told you it was Mr. Diveroli's idea to

    25    have a team and part of that team included Mr. Thomet and part
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 99 of 135
                            Closing Argument by Mr. Stirba                       99


     1    of that team included another person in Czechoslovakia and part

     2    of that team included all these people and that's the way it

     3    was written.      It was written as a team concept.

     4                You also know that, when Perez testified, he had an

     5    interesting way of testifying in this sense.         Do you realize,

     6    ladies and gentlemen, it cost probably 10 bucks, maybe

     7    10 bucks, max, to go to Wal-Mart and get a recorder?           You get a

     8    recorder.

     9                We don't have any issue going back and forth that

    10    Perez says one thing and now Mr. Merrill has to correct the

    11    record or Perez says this is what happened and now Mr. Merrill

    12    has to correct the record.

    13                What was his response?     Was his response, "You know, I

    14    should have done that" or, "That would have been a good idea"

    15    or, "You know, we're going to do that in the future"?

    16                No.   His response was, "We just don't do that.        We

    17    just don't do that."

    18                In other words, "We don't want folks like you when you

    19    hear cases like this to have an accurate recordation of what

    20    people actually said."

    21                What we'd rather have happen is an agent come in here

    22    two and a half years later and try to say, "This is what I

    23    remembered somebody said based upon his understanding of what

    24    the question was and his understanding of what the answer was."

    25                Ladies and gentlemen, think about it.       Is that
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 100 of
                                     135
                           Closing Argument     by Mr. Stirba                100


    1    adequate proof of anything when all these things are readily

    2    available and that would have given you accurate information

    3    about precisely what happened, especially when, you remember,

    4    seven and a half hours?

    5              For seven and a half hours, that guy's interviewed.

    6    He doesn't have a lawyer.      He doesn't have anybody with him.

    7    He's got agents there, he's got an assistant United States

    8    attorney there, and they're asking him all manner of questions.

    9              And so Perez comes in here.       And the best he could do

   10    on cross-examination was, "Well, could have, would have, should

   11    have."

   12              Well, that's not the basis upon which you present a

   13    criminal case.    And that's reasonable doubt.      And there's no

   14    reason in the world why Mr. Merrill's remembrance of what

   15    happened is not absolutely correct and true.

   16              What Mr. Perez remembered isn't accurate and isn't

   17    true because -- I'll tell you why.       I'll tell you why I know

   18    this.

   19              Remember, if he wanted that, if he wanted to really

   20    have it accurate so he couldn't testify about it the way he

   21    wanted later on in a criminal trial like this, he would have

   22    recorded it.

   23              The reason why they don't record is because then they

   24    can create their own little report, and their own little report

   25    isn't always necessarily accurate; and then, when they get on
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 101 of
                                     135
                           Closing Argument     by Mr. Stirba                101


    1    the stand, you can say what you want with impunity because

    2    there's no recording.

    3              That's not fair.     That's not right.     That's not the

    4    way law enforcement should be conducted, especially when, as I

    5    say, you're in the context of interviewing somebody for seven

    6    and a half hours in the US Attorney's Office here in Miami.

    7              Now, the other thing is, as I say, Ralph Merrill -- he

    8    told you what he told you.      And some of what he told you was

    9    based upon his memory and was based upon his understanding from

   10    information provided by, obviously, people who are not

   11    trustworthy.

   12              Diveroli lies.     Diveroli's a convicted felon.

   13    Diveroli's high.    Packouz lies.    Packouz is a convicted felon.

   14    Packouz has an incentive to lie, and then he comes in here and

   15    he lies directly to you.

   16              But Merrill has to rely on what they told him.          And,

   17    obviously, what they told him wasn't true.        But don't hold that

   18    against him.

   19              As I say, ladies and gentlemen, if he had no reason to

   20    believe at the time that Diveroli was a liar, if he had no

   21    reason to believe that Diveroli wasn't going to be trustworthy

   22    in their relationship, that's different.        But he did.    He had

   23    this history and it worked; and he had no reason to distrust

   24    him.   That, ladies and gentlemen, is not specific intent to

   25    defraud anybody.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 102 of
                                     135
                           Closing Argument     by Mr. Stirba                102


    1               The fact that somehow they shipped Chinese and the

    2    fact that they somehow shipped it on June 21st and the fact

    3    that somehow now later on they're saying, "Well, you know, we

    4    submitted certificates of conformance," which he never had

    5    anything to do with, which now we're saying is false, does not

    6    mean Mr. Merrill has committed any crime.

    7               The agreement that the Government talks about,

    8    April 23rd, an unlawful agreement, an unlawful agreement to

    9    what?   There was no agreement, none, zero.       There was no

   10    agreement to anything.     They hadn't bought anything.       They

   11    hadn't sold anything.     They hadn't negotiated anything.       They

   12    hadn't agreed to do anything.

   13               You realize all Albania was doing was sourcing

   14    Chinese.   It wasn't like, you know, they had a gun to the head

   15    of AEY and said, "You must take Chinese or else."         That wasn't

   16    what was going on.     They just said, "Hey, we've got some

   17    Chinese we'd now like you give you.       You want to buy?"      Right?

   18               And guess what?    Merrill wasn't part of that because

   19    all Merrill knew as of June when, finally, they did these deals

   20    was, "Well, I guess we're shipping Albanian."

   21               And that's what's going to the Government and the

   22    Government's accepting it and the Government's paying for it.

   23    Because you're not going to see any evidence whatsoever that he

   24    knew anything differently.

   25               Now, when you go back to the jury room, ladies and
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 103 of
                                     135
                           Closing Argument     by Mr. Stirba                103


    1    gentlemen, take your time.      Each one of you, each one of you,

    2    has an obligation to decide this case and deliberate about this

    3    case using your own conscience, your own heart and your own

    4    assessment of the facts.

    5              And we can't redo it.      So be careful.    And if you have

    6    a firm belief about certain things, I think you're obligated

    7    under law to act on that belief.

    8              And, you know, don't think about this as whether the

    9    Government's going to win or the Government's going to lose.

   10    You realize the Government always wins if justice is done.

   11              And justice in this case, justice in this case, ladies

   12    and gentlemen, is acquitting that man over there.         That's what

   13    justice is.

   14              And if you acquit that man, the Government wins

   15    because, as I say, the Government always wins when justice is

   16    done.

   17              And, you know, the Government may very well in this

   18    case -- because counsel will come up after I'm finished --

   19    they'll have the last say, but you folks will have the last

   20    word.

   21              And the word I want to hear from you and the word I

   22    think that's fully justified in this case is -- you're going to

   23    be given a verdict form.     It's going to be like this.       A lot of

   24    counts.   A lot of counts.

   25              And you go down there and you mark each one of those
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 104 of
                                     135                                     104


    1    counts "not guilty" because the Government has not proven

    2    beyond a reasonable doubt and met its burden that Ralph

    3    Merrill, first of all, engaged in any unlawful agreement; that

    4    Ralph Merrill knew at the time that any Chinese-origin ammo was

    5    being shipped; that Ralph Merrill somehow committed major fraud

    6    against the United States Government, even though he clearly

    7    wasn't a supplier, contractor or a subcontractor, and certainly

    8    didn't submit anything to the Government that was false; and,

    9    third, Ralph Merrill somehow committed wire fraud when all he

   10    did, ladies and gentlemen, is he relied on what he was told by

   11    Mr. Diveroli.

   12                He had no specific intent to defraud anybody, and

   13    that's the requirement under wire fraud.

   14                So I thank you very much.    And I know it'll be a

   15    difficult deliberation, but I now pass the torch to you.

   16                Thank you.

   17                THE COURT:   We're going to take a break.

   18                Do not discuss this case either amongst yourselves or

   19    with anyone else.    Have no contact whatsoever with anyone

   20    associated with the trial.      Do not read, listen or see anything

   21    touching on this matter in any way.

   22                If anyone should try to talk to you about this case,

   23    you should immediately instruct them to stop and report it to

   24    my staff.

   25                Remember, until you have heard all of the closing
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 105 of
                                     135                                     105


    1    arguments and I have instructed you on the law, you simply are

    2    not to talk about this case.

    3              Ten minutes.     We'll be in recess for ten.

    4              (Whereupon, the jury exited the courtroom at

    5    12:36 p.m.)

    6               (Thereupon a recess was taken, after which the

    7    following proceedings were had:)

    8              THE COURT:    We're back on United States of America

    9    versus Ralph Merrill, Case No. 08-20574.

   10              Counsel, state your appearances, please, for the

   11    record.

   12              MR. TAMEN:    Frank Tamen, Adam Schwartz and Eloisa

   13    Fernandez on behalf of the United States.

   14              MR. STIRBA:    Peter Stirba and Nathan Crane, your

   15    Honor, on behalf of Mr. Merrill.

   16              And he's present.

   17              THE COURT:    So let's bring in the jury.

   18              Mr. Tamen, how much time do you need?

   19              MR. TAMEN:    About 35 minutes.     And if I could get a

   20    ten-minute warning and a three-minute warning, I'd appreciate

   21    it.

   22              THE COURT:    Okay.

   23              (Whereupon, the jury entered the courtroom at

   24    12:54 p.m. and the following proceedings were had:)

   25              THE COURT:    You may be seated.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 106 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                106


    1              You may proceed.

    2              MR. TAMEN:    Thank you.

    3              Good afternoon, ladies and gentlemen.

    4              I thank you for the careful attention you've paid

    5    throughout this trial.

    6              I have some good news for you at this point.         Mine is

    7    the last speech you're going to need to listen to by a lawyer.

    8    The other good news is it's going to be the shortest speech

    9    you're going to listen to by a lawyer.

   10              Because this is the rebuttal stage of closing argument

   11    and I'm going to just address some of the points that

   12    Mr. Stirba made in his closing that I want you to hear from the

   13    Government on before you go back to deliberate.

   14              And the rest, I'm relying on you to use your own

   15    common sense to see through the false arguments and to

   16    recollect the testimony correctly to see how it supports the

   17    charges in this indictment.

   18              Can we have Defense 76.3.      Can that be put up on the

   19    screen, please.    We don't have that?

   20              Well, you probably remember that.        Mr. Stirba put that

   21    up fairly early in his closing argument.        It was an e-mail that

   22    David Packouz had sent to -- basically, he had sent, saying

   23    that Hungarian ammunition is now available in a quantity

   24    sufficient to fulfill the entire contract.

   25              And Mr. Stirba said, well, see, they don't have any
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 107 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                107


    1    agreement to supply Chinese-made ammunition from Albania.          This

    2    was May 15th of 2007.

    3              What he didn't point out was who that e-mail was

    4    addressed to.    It was to Kosta Trebicka, the guy that's doing

    5    the repacking.    The purpose of the e-mail was to try and get a

    6    lower price on the repacking because the repacking price was

    7    really heavy, hundreds of thousands of dollars.

    8              So what Mr. Stirba suggested to you as the purpose of

    9    the e-mail is not what it was about at all, and Mr. Packouz

   10    explained that to you.

   11              Mr. Stirba spent a good deal of his closing argument

   12    talking about how they didn't have an agreement to buy Albanian

   13    ammunition, they didn't have an agreement to buy Chinese

   14    ammunition, they're going back and forth, they're negotiating

   15    prices, they're looking for other suppliers and, therefore,

   16    there was no agreement, they didn't have a contract, they

   17    didn't have a contract until much later on.

   18              What Mr. Stirba is doing is trying to mislead you into

   19    misunderstanding what the agreement the indictment talks about

   20    really is.   The indictment doesn't charge the Defendants with

   21    having a contract or a written agreement with MEICO to supply

   22    Chinese-made ammunition from Albania to the US Army.

   23              The agreement is the conspiracy that Merrill, Diveroli

   24    and Packouz have entered into amongst themselves as to what

   25    they are going to do.     They have realized that the only way
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 108 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                108


    1    they can keep this contract by fulfilling it in a timely

    2    fashion and make money is by supplying Chinese ammunition.

    3               And all of the back-and-forth e-mails and the

    4    negotiations and efforts they're going through and the

    5    repacking are overt acts taken in furtherance of the agreement.

    6               When they formed that agreement, which is on or about

    7    April 20th of 2007, no, they didn't have a supplier, they

    8    didn't have repacking, they didn't have a lot of things.

    9    That's the essence of a conspiracy charge, is an agreement.

   10               They agreed they were going to do it.       They were going

   11    to get this Chinese-made ammunition from Albania and sell it to

   12    the Army because it was the only way they could fulfill this

   13    contract and not get booted off it because they were late and

   14    not get booted off it because they couldn't meet the

   15    contractual requirements for quantities of ammunition and not

   16    lose money because it cost too much to buy it from other

   17    sources.

   18               So the agreement Mr. Merrill spoke about never having

   19    been reached is not the agreement that's charged in the

   20    indictment.   When the Defendants agreed amongst themselves they

   21    were going to violate the law and then spent a lot of time and

   22    trouble trying to fulfill that agreement and carry off their

   23    conspiracy, there was an agreement, which is a criminal offense

   24    against the United States.

   25               Mr. Stirba also put up an e-mail which was dated
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 109 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                109


    1    June 20th.    It was addressed from AEY to Evdin.       And it said --

    2    and another one to Mr. Pinari.      And it said, you know, "Start

    3    repacking the ammunition in order to ship as soon as possible."

    4              And he pointed out that Ralph Merrill was not on that

    5    e-mail, he wasn't involved and he doesn't know what they were

    6    doing, he doesn't know about the repacking and the shipping of

    7    the Albanian ammunition.

    8              Can we look at EM 197, please.

    9              In fact, Ralph Merrill was in the loop and knew what

   10    was going on.

   11              Let's enlarge that portion, please.

   12              This is from Evdin to Efraim Diveroli at AEY, cc:

   13    Ralph Merrill.

   14              "Dear Efraim, Dear Ralph, It was nice talking to you

   15    last night and we celebrate you to the new order.         As per our

   16    last e-mail and conversation, please find here again the

   17    invoices and account statement.      As tomorrow, Flight No. 3 is

   18    scheduled and then following daily flights, we must have your

   19    transfer as advised before the weekend."

   20              Ralph Merrill didn't know they were shipping

   21    ammunition?     Here's an e-mail to him memorializing their

   22    conversation about it, telling him the schedule for the third

   23    flight and saying they need the money.

   24              So the fact that he was not copied on an e-mail to

   25    Pinari about the need to start repacking the ammunition just
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 110 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                110


    1    doesn't prove that he didn't know what was going on and wasn't

    2    involved.    This e-mail shows that he did know and was involved.

    3                Mr. Merrill also spent quite a bit of time trying to

    4    convince you that the ammunition that was supplied in this case

    5    didn't come from a Chinese military company.        He talked about

    6    how the Government's expert, Dr. Chueng, testified that there

    7    were no companies in China prior to -- I believe it was the

    8    1980s or 1990s.

    9                What Mr. Stirba failed to do was include the entire

   10    definition of "Chinese military company" that was included in

   11    the contract as the Government regulation, the DFARS

   12    regulation.

   13                You've seen it throughout the trial.      I'm not going to

   14    put it up on the screen now.

   15                But the DFARS regulation says you can't supply any

   16    ammunition that was supplied from a Communist Chinese military

   17    company.    Then it defines what a Communist Chinese military

   18    company is.    And that definition is right there in the contract

   19    in black and white that Mr. Merrill had, just like Mr. Diveroli

   20    had, just like Mr. Packouz is familiar with.

   21                It said that a Communist Chinese military company is

   22    not a corporation.     They didn't have corporations.      It doesn't

   23    have to be something formal.      Any entity.    Any entity -- it's

   24    like anything -- that is part of the defense or industrial base

   25    of the People's Republic of China.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 111 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                111


    1                Dr. Chueng told you the People's Liberation Army owns

    2    the munitions plants.     Is that part of the defense industrial

    3    base of the People's Republic of China?        Obviously, it is.

    4                If the Army owns the plant that manufactures the

    5    ammunition, buying from them or getting ammunition from them is

    6    getting ammunition that was acquired directly or indirectly

    7    from a Communist Chinese military company.

    8                Mr. Stirba also said there was no contract to supply

    9    Chinese ammunition.     It was all coming from Albania; and,

   10    therefore, there was no crime committed here.

   11                Well, you all know and have seen what everybody else

   12    involved in this conspiracy knew very well.        Even though

   13    Mr. Merrill is not a lawyer, he knew what it meant.

   14    Mr. Packouz is not a lawyer.      He knew what it meant.      He pled

   15    guilty because he knew that it meant what he was doing was a

   16    crime.    The same for Diveroli.

   17                Directly or indirectly.    Mr. Stirba would have you

   18    just ignore "indirectly."      If that contract, the DFARS clause,

   19    says you can't provide ammunition obtained directly from a

   20    Communist Chinese military company, he'd have a pretty good

   21    defense.

   22                But when it says "indirectly," that means any way at

   23    all.     That's why that clause is in there, to prevent people

   24    from getting around the prohibition on Chinese communist

   25    munitions by just shipping it through a middleman in some other
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 112 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                112


    1    country, because it'd be very easy to get around that

    2    provision.

    3              There's middlemen and brokers all over the world that

    4    would be more than happy to buy Chinese ammunition on order and

    5    then sell it to somebody who would sell it to the US Government

    6    and that person would say, "I'm selling it to the Government,

    7    but it didn't come from China.      It came through this

    8    middleman."

    9              That's why they put "indirectly" in there.         It meant

   10    something and everybody involved knew what it meant.          That's

   11    why they're scurrying around and having such problems at the

   12    time they learned that this ammunition is Chinese.

   13              Mr. Stirba also talked about the e-mail on past

   14    performance that Mr. Merrill sent to the Army.         He said the

   15    Government was trying to pull a fast one here because it didn't

   16    show that the e-mail was written by Efraim Diveroli and then

   17    sent to the Defendant.

   18              Well, the Government didn't try and pull any fast

   19    ones.

   20              Mr. Packouz was asked, "Who sent the e-mail to the

   21    Army?

   22              "Ralph Merrill."

   23              And when he was asked on cross-examination, "Who was

   24    it that authored this e-mail?", he just came right out and

   25    said, "Oh, Efraim Diveroli wrote it."
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 113 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                113


    1                What's key here, ladies and gentlemen, who sent it to

    2    the Army?    Ralph Merrill sent the Army an e-mail saying, "You

    3    can" -- "We recommend AEY for this contract because we had a

    4    deal with them.    They did a great job.      They sold us 9 million

    5    rounds -- or 29 million rounds of Czech ammunition and

    6    everything worked out just great."

    7                And it goes into detail paragraph by paragraph where

    8    the ammunition came from, how good it was, where it was

    9    delivered to and everything else.       It's all a fraud.

   10                The deal never took place because, in fact, AEY had

   11    messed it up and gotten the wrong kind of ammunition.

   12                But Ralph Merrill -- well, he wants you to believe he

   13    didn't read it?    Come on.

   14                The fact is that e-mail shows that Ralph Merrill was

   15    willing to lie to the Government in order to get a big contract

   16    and he's willing to lie to the Government in order to keep that

   17    contract and he's willing to see his co-conspirators continue

   18    to lie to the Government in order to keep that contract.

   19                Mr. Stirba would have you believe that, in September,

   20    Efraim Diveroli told him that he really didn't have a legal

   21    opinion, that it was okay to do what they were doing and

   22    Mr. Merrill was just upset and outraged and backed out of the

   23    deal, said, "I'm out of here.      I don't want to have any more

   24    dealings."

   25                But, remember, at the end of my cross-examination, I
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 114 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                114


    1    showed you an e-mail that Mr. Merrill had sent to Efraim

    2    Diveroli in December, three months later, saying, "Hey, we can

    3    source this product from someplace else."

    4              He's still looking to get in on the deal and do

    5    business with Efraim Diveroli.      So this idea that there was

    6    some kind of righteous outrage that caused him to cut off

    7    contracts -- contacts with Diveroli, that didn't happen.          Three

    8    months later, he's still trying to insinuate himself into

    9    another business deal, another supplier.

   10              Mr. Stirba would also have you believe that there's

   11    something wrong with the Government's case because, although

   12    David Packouz told Agent Mentavlos on August 30th of 2007 that

   13    they were sending ammunition from China, the Government

   14    continued to make millions of dollars of payments for many

   15    months after that.

   16              Well, it's unfortunate that the wheels of Government

   17    sometimes turn slowly.     But the Government has gotten millions

   18    of rounds of ammunition that are in Afghanistan.         It can't just

   19    cut off payments to the suppliers on the basis of one person

   20    saying something to an investigator.

   21              They have not only the right, but the responsibility

   22    and the obligation, to make sure that those allegations are

   23    well-founded and established before they cut off somebody who's

   24    been supplying war materiel.      It wasn't until January that Al

   25    Wiesner was able to get out to the bunkers in Afghanistan to
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 115 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                115


    1    start taking samples.

    2              And it was no easy job to do that.        He talked about

    3    how they went out there wearing helmets, full body armor and

    4    carrying automatic rifles because the Taliban is shooting at

    5    people.

    6              But, nonetheless, to make sure that there was

    7    substance to these allegations, he braved that route, going out

    8    and going back to bring back ammunition, which then had to be

    9    sent to the Army lab to be confirmed.       And, eventually, it was

   10    confirmed this is Chinese ammunition.

   11              By that time the contract had already been terminated.

   12    But it would have been irresponsible for the Government to stop

   13    payment on August 30th after they've received all this

   14    ammunition because one person says it's Chinese.         Once they

   15    found out for sure, that was the end of the contract.

   16              The Judge is going to give you some instructions,

   17    including weighing the credibility of witnesses.         One of the

   18    things she'll tell you is to weigh the Defendant's testimony by

   19    the same standards as you weigh other people's testimony.

   20              And amongst the factors you need to consider is:           What

   21    is his interest in the outcome of this case?        What is the

   22    consistency of his testimony with the other evidence in the

   23    case and testimony from other witnesses?        Does he answer

   24    questions directly?     Did he impress you as a person who was

   25    telling the truth or not, as a person who was going to give you
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 116 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                116


    1    an explanation for every question, whether the question calls

    2    for one or not?

    3                A defendant who lies about the existence of

    4    incriminating evidence is showing a guilty conscience.          A

    5    defendant who lies about the plain meaning of incriminating

    6    evidence is showing a guilty conscience.        A defendant who comes

    7    up with untruthful explanations for incriminating evidence

    8    shows he knows that the truth will hurt his case.

    9                Given the huge amount of incriminating evidence

   10    against Mr. Merrill that Mr. Schwartz described to you,

   11    basically, your verdict would rest on whether you believe his

   12    attempts to explain it all away.

   13                But in order to believe Ralph Merrill, you have to

   14    disbelieve entirely the testimony of David Packouz.         You have

   15    to disbelieve either the contents of dozens of e-mails, some of

   16    which were sent by the Defendant and many others to the

   17    Defendant, or you have to disbelieve the plain meaning of those

   18    e-mails.    You would have to disbelieve the testimony of Special

   19    Agent Luis Perez.

   20                And, lastly, you'd have to disbelieve some of the

   21    testimony and statements of Ralph Merrill himself because he

   22    can't keep his story straight.      I'll get into that in a little

   23    while.

   24                Let me first talk about David Packouz.      Remember his

   25    demeanor.    He was forthright.    He was articulate.     He answered
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 117 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                117


    1    questions directly.

    2               He didn't respond to a simple question with a long,

    3    intricate answer and make speeches trying to justify what he'd

    4    done.   He said, "No.    I did this with criminal intent in order

    5    to pull the wool over the Government's eyes."

    6               He admitted smoking pot.     He admitted sometimes using

    7    cocaine.   Remember he did that.     There's nobody else here from

    8    AEY to tell on him and say, "Oh, that guy was smoking pot and

    9    using coke."    Nobody reported that.     He admitted that himself.

   10    All of this was in front of the Judge that's going to impose

   11    sentence on him.

   12               Now, is that signs of somebody who's going to lie and

   13    try and minimize his wrongdoing or is that somebody who's going

   14    to be painfully honest, even if he knows some of it may come

   15    back on him and against him?

   16               David Packouz admitted that everybody knew they

   17    couldn't sell Chinese ammunition to the Army legally, and what

   18    he believed was confirmed.      It was confirmed by the Department

   19    of State, not once, not twice, but in three different e-mails.

   20               David Packouz never said and was never told by Efraim

   21    Diveroli that Efraim Diveroli had hired lawyers to look into

   22    this.   He never said that Efraim Diveroli's legal team said

   23    this was okay.    Why?   Because that never happened.

   24               He never claimed he thought that the DFARS rule on

   25    ammunition from entities owned or controlled by the
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 118 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                118


    1    defense's -- or industrial establishment -- or part of the

    2    defense or industrial establishment of the People's Republic of

    3    China.    It didn't apply to this ammunition.      He knew that it

    4    did.     Everybody knew it from the get-go.

    5                In fact, he and the others at AEY went to a great deal

    6    of trouble and expense because they knew that what they were

    7    doing violated the rules.      And they had tremendous expense and

    8    time delays in repacking the ammunition out of those tins.

    9                Now, there certainly was a lot of discussion about

   10    removing the wooden crates from the Albanian and Chinese

   11    ammunition in order to save weight.       They probably would have

   12    done that.

   13                When they found the time and the means, somebody could

   14    do that, at least after the first delivery.        Because, remember,

   15    they needed to make a delivery.      That's in the e-mails.      They

   16    needed to make a delivery on time to prove to the Army that

   17    they could deliver on this contract.

   18                So they would have removed the crates because it would

   19    have been a fairly quick operation and would have saved them

   20    money on shipping.     But not the tins.    That's a whole different

   21    story.

   22                Remember, the Defendant's own e-mails talked about the

   23    costs involved in removing the crates and shipping the ammo in

   24    the tins.    And this is in April, before the bad news.

   25                Can we have Government Exhibit 40.2, the photograph,
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 119 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                119


    1    please.

    2                Removing the ammunition bullet by bullet from the

    3    tins, from the paper, from the data cards, is not something

    4    they would have undertaken had they had any alternative.

    5                Look at the quantity of tins involved here.       And this

    6    is only part of it.     What a massive undertaking.      They would

    7    never have done that if they had had to.

    8                Every one of those tins, I believe, according to

    9    testimony of Agent Wiesner, one of the other witnesses in the

   10    case, holds about a thousand rounds of ammunition.

   11                They're packed in paper with Chinese markings in

   12    little strips of either 10 or 20 rounds of ammunition on a

   13    stripper clip.    All of that has to be done to send this

   14    ammunition.

   15                Who would have done that if they didn't absolutely

   16    have to?

   17                Packouz testified they were already behind schedule to

   18    the Army.

   19                Now, Mr. Stirba gets up here and shows you the

   20    contract that says you'll have three to six months after a task

   21    order to make delivery.     What he didn't show you is what Adam

   22    Schwartz showed you, that is, the task orders, the specific

   23    orders, that showed that one task order was due March 30th.

   24    They were already behind that.      And the next one was due at the

   25    end of April.    They're about to be behind on that.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 120 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                120


    1                It wasn't three to six months that they had to get

    2    this ammo shipped.     They were behind on one and they had days

    3    on the other.    Would they have gone through the repacking of

    4    this kind of ammunition if they didn't have to?

    5                Well, they had some problems.     Pinari and MEICO didn't

    6    want to do it.    Evdin didn't want to bear the expense of doing

    7    it.   And the cost to repack was as much as the savings in

    8    weight.   In fact, the Defendant's own e-mail to Evdin said the

    9    same thing.

   10                If we can have EM 85.    Is that 85?    Let's look at the

   11    bottom portion from -- the last couple paragraphs.

   12                This is from Ralph Merrill to Evdin.      "It takes

   13    30 seconds to open the lid and pull the tin and set the tin on

   14    a pallet."    Then he goes into calculations of what this

   15    involves.    Just removing the crates doesn't cost very much.

   16                But he's talking about saving money by removing the

   17    crates and putting the tins on the pallets.        That's his plan

   18    until he finds out that there's Chinese markings on the tins,

   19    the data cards and the paper.

   20                Mr. Merrill had an interesting explanation for why he

   21    thought they had to go through this massive expense and

   22    time-consuming operation to remove the tins.

   23                He said, "Well, there was a problem with some of the

   24    tins that were rusty and we had to inspect the ammunition to

   25    make sure that we weren't going to be sending any rusty tins to
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 121 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                121


    1    the ammo (verbatim)."     There's a few things wrong with that.

    2              First, can we have the -- he said -- I asked him,

    3    "Where's the e-mails from David Packouz or Alex Podrizki or

    4    Efraim Diveroli talking about rusty tins?        Where are they?

    5              "Well, there weren't any."

    6              But then he thought, "Well, wait a minute.         No.   There

    7    was.   There was a communication that David Packouz sent to

    8    Major Walck about the problems that were on the -- the problems

    9    with the tins being rusty."

   10              And if I may, do we have that Major Walck e-mail?          I

   11    think it's 138.    No.   Oh, yes.   Let's enlarge the middle

   12    portion of that.

   13              This is a copy of the e-mail -- this is part of the

   14    e-mail -- Packouz is sending to Major Walck.        You know what's

   15    funny about Mr. Merrill's testimony?       His name's not on this

   16    e-mail.   He didn't get a copy of it.

   17              So his story that, "Yeah.      I remember seeing an e-mail

   18    that there was a problem with the tins and that's why we had to

   19    go through this massive 300 to 500,000-dollar operation

   20    repacking" -- that didn't happen.       He didn't see this.

   21              Plus, David Packouz explained the reason for this.

   22    And his testimony -- Mr. Stirba may not remember it, but I do.

   23              His testimony about why they were going -- why they

   24    sent this memo to Major Walck -- he said it wasn't because

   25    there was any problem with the tins.       He said it was because
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 122 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                122


    1    they realized when they saw how pervasive the Chinese markings

    2    were they were going to have to ship this ammunition to the

    3    Army in a totally nonstandard fashion.

    4              Military ammunition is normally packed in crates and

    5    tins.   That's how it always goes.      They were going to send it

    6    in cardboard boxes without data cards or anything else.

    7              He said he wanted to make sure that the Army would

    8    accept this kind of packing before they sent it.         That's why he

    9    sent the e-mail.    It was a ruse to get excuse to get a cover

   10    story, not because there were any problems with the tins.

   11              There were enough e-mails with the problems with the

   12    weight of the crates.     There were enough e-mails with the

   13    prices, with the sources, with the quantities and everything

   14    else.

   15              If there had been a probation with rusty tins, they'd

   16    be on the e-mails and Ralph Merrill would have had them.          But

   17    there was no such problem.

   18              There's also a lot of e-mail traffic in which

   19    Mr. Merrill persistently talks about the need to repack the

   20    eastern ammunition.

   21              Well, he's the only person in this case that uses the

   22    term "eastern ammunition."      And he's doing it because he

   23    doesn't want to put "Chinese ammunition" in his e-mails.          He's

   24    a little more cautious than some of the other people.

   25              Besides which, having looked at the quantity of tins
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 123 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                123


    1    that are involved -- and Mr. Merrill knows how ammunition is

    2    packed, knows the quantities of ammunition that's being sent --

    3    if he thought that there were problems with some of the tins

    4    being rusty, the obvious solution would be just don't send

    5    those tins.

    6              Most of them are fine.      He never said that they are

    7    all rusty or there was a pervasive problem.        So sending the

    8    rest would be a lot less expensive and time-consuming than

    9    taking every last bullet out of every last tin.

   10              THE COURT:    You have ten minutes.

   11              MR. TAMEN:    Thank you.

   12              So his explanation doesn't really hold water.

   13              Let's look at some other contradictions in his

   14    testimony.

   15              First, he says he never denied sending the e-mail with

   16    the scraping photographs or any e-mail suggesting that they use

   17    the Chinese problem as leverage for a better price.         That was

   18    in his interview with Special Agent Perez on May 7th of 2008.

   19              But, remember, the Defendant was not a suspect then.

   20    But then, when he was confronted with the e-mails that you saw

   21    with his name on it, then he broke down and admitted it.

   22              He also said that he never -- he also said, when he

   23    was asked first -- in Utah, he was asked, "When did you first

   24    learn there was a problem with the Chinese ammunition?"

   25              He said about a year before, which would have been
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 124 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                124


    1    correct, in April of 2007.

    2                He wasn't a suspect and he had no time to think of a

    3    lie.

    4                But that wasn't what he said in his interview on

    5    May 7th, Luis Perez said.      And this is the trial testimony of

    6    Agent Perez.

    7                "And was Merrill asked again to state when it was he

    8    learned there was a problem with the ammunition in that it was

    9    sourced in Communist China?

   10                "Yes, sir, he was.

   11                "And on this occasion, what did he say about when he

   12    had first learned there was a problem?

   13                "He said he learned about it in August when special

   14    agents had gone to AEY and conducted a search warrant.

   15                "In '06 or '07?

   16                "'07.

   17                "But he triggered that knowledge to the search

   18    warrant?

   19                "Correct."

   20                That's not what he told you in court.      That's not what

   21    he said in Utah.    He's making up stories.      He can't keep them

   22    straight.

   23                What about the Chinese markings on the crate?       First,

   24    he denied he sent those markings with the scraping photos.

   25    Then when he was confronted with the header on the e-mail with
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 125 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                125


    1    his name on it, he put his head down, "Yeah.         I did that."

    2                 And he was asked, "Well, you know, what was the reason

    3    for that?"

    4                 The question of Mr. -- this is also --

    5                 MR. STIRBA:   Your Honor, I'm going to object,

    6    respectfully.     I don't think any of this was testimony in the

    7    trial at all that he's talking about now.

    8                 THE COURT:    Overruled.

    9                 MR. TAMEN:    In his testimony at trial, Agent Perez

   10    says, "Did Mr. Koukios ask Mr. Merrill if he had any

   11    communications with Efraim Diveroli about clearing off or

   12    cleaning Chinese markings from the shipments of ammunition or

   13    hiding them?"

   14                 And when asked that question, what did Mr. Merrill

   15    say?   No.

   16                 Mr. Koukios then asked him if he had had any

   17    communication with the people at AEY about scraping markings.

   18                 "Yes, he did.    Mr. Merrill said no.   He had no

   19    communications."

   20                 "Did Mr. Merrill -- did Mr. Koukios ask Mr. Merrill if

   21    he had ever told Diveroli to try to use the problematical

   22    Chinese origin of the ammunition as leverage with the suppliers

   23    in order to get a reduced price?

   24                 "He said he had no such communication.

   25                 "At that point, did Mr. Koukios show Mr. Merrill some
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 126 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                126


    1    e-mails that include photographic attachments?

    2              "That's when he put his head in his hands and sighed

    3    and admitted those were his."

    4              Now, is that the response of somebody who's been

    5    innocent all along or is that the response of somebody who

    6    knows he's done something wrong, figures he can deny it, gets

    7    caught and says, "Okay.     You got me"?

    8              Mr. Merrill gave you a very long and strange

    9    explanation about the purpose of those scraping photographs,

   10    that, basically, they were -- he took them so he could show the

   11    Albanian Ministry of Defense how to use a hammer and chisel and

   12    take the markings off of boxes because he was afraid they were

   13    going to get stolen.

   14              Each of them weighs 66 pounds, and there's thousands

   15    of them; but somehow there's a concern, even though Agent

   16    Mentavlos told you they were stored at the military wing of the

   17    airport in Tirana.     Military.   Albania, for decades of Chinese

   18    communist dictatorship.     If communist dictatorships are good at

   19    anything, it's securing their armaments.

   20              But, anyway, I asked him -- I asked Mr. Merrill if he

   21    had made any contradictory statements about the same subject on

   22    another occasion.

   23              And I read him a quote.

   24              Can we have this on ELMO in case it's a little hard to

   25    see?
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 127 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                127


    1              THE COURT:    You've got to move it over to the left, if

    2    you want the red box.

    3              MR. TAMEN:    There we go.

    4              I asked him about whether he testified in a hearing

    5    before another judge in this case on December 9th.         And I asked

    6    him if he remembered being asked this question and giving this

    7    answer.

    8              MR. STIRBA:    Your Honor, this is not rebuttal.        I

    9    didn't say one word about this.

   10              THE COURT:    Overruled.

   11              MR. TAMEN:    Okay.   This is Mr. Merrill himself on the

   12    stand under oath, being questioned in court.

   13              "Okay.    And so you sent that e-mail with an idea of

   14    how to conceal the Chinese origin back before any of the

   15    ammunition shipped.     Isn't that correct?

   16              "Yes, sir."

   17              That was Mr. Merrill's own testimony, totally

   18    different from the testimony he gave on the witness stand.

   19              Mr. Merrill was asked at his interview about whether

   20    or not he had ever tried to use the Chinese problem as leverage

   21    to get a better price, and he denied it.

   22              Then Mr. Koukios showed him E-mail 175, which you've

   23    seen quite a few times.     Then he said, "Yeah.      Okay.   I did

   24    that, too."

   25              But then he's on the witness stand now.         And what is
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 128 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                128


    1    he saying?    He's come up with all kinds of explanations for

    2    what his purpose was in sending E-mail 175, except to use the

    3    leverage of the Chinese problem to get a better price.

    4              But when you read through that e-mail in its

    5    entirety -- and it deals with several subjects -- there will be

    6    no doubt in your mind that he is trying to use that problem as

    7    leverage to get a better price from Evdin on the ammunition he

    8    was buying.

    9              THE COURT:    You have three minutes.

   10              MR. TAMEN:    Mr. Merrill told you that -- when he

   11    testified on the stand, that he got the letter -- he was told

   12    from Efraim Diveroli that he got a letter from his lawyer

   13    saying it was all okay to sell had Chinese ammunition, except

   14    that that never happened.

   15              Now, why would Efraim Diveroli tell him that?         He

   16    didn't tell David Packouz, his childhood friend, there was any

   17    such letter.    He himself pled guilty.     He knows there was no

   18    such legal guidance.     Why would Efraim Diveroli lie to Ralph

   19    Merrill in order to get him to stay with this contract, to keep

   20    on the deal?

   21              Mr. Merrill suggests, "Well, maybe he needed to do

   22    that in order to get me to stay on the deal, to make me think

   23    it was legal."

   24              The problem with that is, first of all, there's

   25    absolutely no letters.     There's no e-mails on this subject.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 129 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                129


    1    None of the other witnesses said anything of this sort.

    2                But the last point is Efraim Diveroli already knows

    3    that Ralph Merrill will lie to the Government in order to get a

    4    contract.

    5                Efraim Diveroli was the one who wrote up that whole

    6    fraudulent past performance memo about the Czech ammunition

    7    deal between AEY and Vector that never took place and sent it

    8    to Merrill and said, "Here.        Send this to the Army" and Merrill

    9    did.

   10                Merrill and Diveroli and Packouz are constantly

   11    talking about how they can clear the Chinese markings off the

   12    crates, the tins, the papers and the packing slips in order to

   13    sell Chinese-made ammunition to the Government.

   14                At no point do you see an e-mail from Mr. Merrill

   15    saying, "I don't really want to be a part of this.         We

   16    shouldn't do this.     We should buy some other ammunition."

   17                No.   He's in on it.    And Mr. Diveroli knows full well

   18    he's in on it.     He doesn't need to convince him to participate

   19    in a criminal conspiracy by pretending that it's all legal.

   20                It's also kind of curious that Mr. Merrill thinks that

   21    it's okay to send this ammunition -- or he told you he thought

   22    it was okay because it was from Albania and not China.

   23                There were three different e-mails from the State

   24    Department saying, "You can't do this."        His response, "Well,

   25    they don't know what they're talking about.        This is a
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 130 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                130


    1    contracting issue.     Diveroli should have called the Army to get

    2    their input."

    3               Well, of course, he never sent any letters to the

    4    Army.    He had their phone number and e-mail address.        If he's

    5    going to participate in this, he certainly could have sent the

    6    e-mail or made the phone call that he said Diveroli just wasn't

    7    doing.    Why didn't he?

    8               Well, there's a reason nobody contacted the Army about

    9    this contract.    Remember the e-mail from Podrizki talking about

   10    making a discreet inquiry in Washington about whether we can do

   11    this.

   12               Because these guys are cagey.      They aren't stupid.

   13    And they're going to try and put a fraud over on the Army.

   14    They're not going to alert them to look.

   15               They're not going to tell the Army contracting people,

   16    "We may be able to get some Chinese ammunition to sell you.           Is

   17    that okay?"     Because the Army might just say, "Well, maybe we'd

   18    better check and see where the ammunition is coming from."

   19               So they're keeping mum to the Army because they're

   20    planning to sell this ammunition to the Army.         If they can't do

   21    it legally, they'll do it illegally.       But they don't want to

   22    alert the Army that there might be a problem or give them any

   23    reason to look.

   24               I want you to reflect on something that I believe

   25    you'll see has been a consistent pattern in the Defendant's
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 131 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                131


    1    responses to incriminating facts.

    2              First of all, he'll say, "Well, what I'm telling you

    3    wasn't documented in writing, letters or e-mails because it was

    4    all handled over the phone."

    5              No matter how many incriminating e-mails there may be

    6    on the topic, he says, well, all the exculpatory communications

    7    were by telephone and never in writing.

    8              If that doesn't work, his other response is, "It

    9    doesn't really mean what it says.       I didn't really send that

   10    e-mail with scraping of Chinese -- 'Made in China' off the

   11    boxes to show somebody that we could scrape 'Made in China' off

   12    the boxes.   There's a whole other explanation for that."

   13              Or if that doesn't work, "Well, I wasn't in his other

   14    fallback position.     I wasn't involved.     That was all Efraim

   15    Diveroli's job."

   16              He's in this contract from the get-go up to his

   17    eyeballs, but everything incriminating is done by Efraim

   18    Diveroli and he doesn't know a thing about it.

   19              And then, if he didn't -- maybe he didn't know what

   20    Efraim Diveroli was doing.      But if he did know, then he thought

   21    it was all legal.

   22              Remember the last words of testimony from Special

   23    Agent Luis Perez.    Mr. Merrill did not contradict him on this.

   24    Mr. Merrill did not volunteer any explanation for this

   25    testimony.
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 132 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                132


    1              He said, "The ammunition was what it was.         They

    2    decided to go forward with selling it and it was a high-stakes

    3    poker game."

    4              Well, $298 million certainly is high stakes.         And he

    5    did it to protect his investment.       Well, either Special Agent

    6    Perez totally made that up or the Defendant admitted in that

    7    interview on May 7th, 2008, that he was in a conspiracy with

    8    Efraim Diveroli to commit a fraud on the US Government.

    9              The ammunition was what it was.       It was Chinese.     It

   10    was made by a Chinese military entity.        It couldn't be sold to

   11    the US Government.     So the high-stakes poker game was to try to

   12    put one over on the Government by taking every last bullet out

   13    of every last packaging and selling it to the Government

   14    anyway.

   15              When you gamble, when you play high-stakes poker,

   16    sometimes you lose.     The overwhelming evidence of guilt in this

   17    case doesn't leave Ralph Merrill with a winning hand.          Getting

   18    away with this crime is just not in his cards.

   19              The only verdict that you can return that will

   20    accurately reflect what happened is knowing and intentional

   21    involvement in the conspiracy with Diveroli and Packouz and

   22    Podrizki to put something over on the Government to sell the

   23    Government ammunition they all knew they could not legally sell

   24    is to find him guilty of these offenses.

   25              The last point I wanted to make was a minor one, but
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 133 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                133


    1    it's covered in E-mail 144.      Mr. Merrill said -- could we have

    2    E-mail 144 -- Mr. Merrill said that he thought that all of the

    3    ammunition that they were selling to the Government came from

    4    Albania.

    5               Well, amongst the other information on this is this

    6    e-mail, "Due to Chinese packing" -- this is April 26th.          And

    7    he's copied on this -- "Due to the Chinese packing, we will

    8    begin with Albanian production of 7.62 by 39.         We don't have

    9    Albanian Tracer for both calibers."

   10               Mr. Packouz testified that the Albanians had a good

   11    supply of 7.62 by 39, but they didn't have Albanian-made

   12    7.62 by 54 and that was a fact that they discussed.         "We don't

   13    have Albanian Tracer for both calibers."        They have to buy some

   14    of this ammunition Chinese.

   15               They're talking about in this e-mail, "2 delivery with

   16    7.62 by 54 ball and Tracer Chinese production" -- that's

   17    numeral 2 there -- "the week 7-13 through May.         The goods must

   18    be repacking as we will agree for the form.        Wooden boxed

   19    repainted or cardboard boxes that will arrive in Albania."

   20               That's not an e-mail that talks about, "We're going to

   21    sell Albanian ammunition to the Government."        That's an e-mail

   22    that says, "We have to sell some Chinese.        We're going to sell

   23    them the Albanian first because it's ready.        We're going to

   24    repack the Chinese and we're going to paint over" --

   25    Mr. Merrill says he doesn't know what they were doing?          You
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 134 of
                                     135
                           Rebuttal Argument     by Mr. Tamen                134


    1    don't save weight in a carton by repainting it.

    2              So what does this tell you?       He knew exactly what they

    3    were doing.    He knew it at least on April 26th.       He knew it

    4    before that.    He knew it throughout.     And he is a member of

    5    this conspiracy.

    6              Maybe his lawyer would like you to think that David

    7    Packouz and Efraim Diveroli pled guilty to something that's not

    8    even a crime because the ammunition wasn't Chinese or it wasn't

    9    acquired from China or nobody knew it was Chinese.

   10              But, in fact, they knew what they were doing.         They

   11    knew it was wrong.     They all discussed what they were doing.

   12    They all discussed and knew that it was wrong.

   13              David Packouz's earliest e-mail to all the potential

   14    suppliers said ammunition from Chinese factories is not

   15    acceptable, and he sent a copy to Ralph Merrill so Ralph

   16    Merrill could tell his suppliers the same thing:         We can't take

   17    ammunition from Chinese factories.

   18              But they did.     They tried to cover it up.      Eventually,

   19    they got caught.    And that's why you should find this Defendant

   20    also guilty as charged.

   21              Thank you.

   22              (End of requested excerpt.)

   23

   24

   25
Case 1:08-cr-20574-JAL Document 910 Entered on FLSD Docket 10/15/2010 Page 135 of
                                     135                                     135


    1

    2                           C E R T I F I C A T E

    3

    4               I hereby certify that the foregoing is an accurate

    5    transcription of the proceedings in the above-entitled matter.

    6

    7

    8    ____________           /s/Lisa Edwards_____
             DATE               LISA EDWARDS, CRR, RMR
    9                           Official United States Court Reporter
                                400 North Miami Avenue, Twelfth Floor
   10                           Miami, Florida 33128
                                (305) 523-5499
   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25
